Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 1 of 62 Page ID #:233




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        CENTERRA SERVICES INTERNATIONAL, INC.,
    7 CENTERRA GROUP, LLC, WACKENHUT SERVICES, INC. and
        G4S GOVERNMENT SOLUTIONS, INC.
    8
                                    UNITED STATES DISTRICT COURT
    9
                               CENTRAL DISTRICT OF CALIFORNIA
   10
        JEANNIE MONARREZ individually,              CASE NO: 2:21-cv-03596- JWH-PLA
   11 and on behalf of other members of the
        general public similarly situated,          DEFENDANTS’ OPPOSITION TO
   12                                               PLAINTIFF’S MOTION TO REMAND
                       Plaintiff,                   PURSUANT TO 28 U.S.C. § 1447:
   13
                 vs.                                (1) REQUEST FOR JUDICIAL
   14                                                   NOTICE
        CENTERRA           GROUP,       LLC,   an
   15 unknown business entity; CENTERRA             (2) MEMORANDUM OF POINTS
      SERVICES INTERNATIONAL, INC.,                     AND AUTHORITIES
   16 an     unknown       business     entity;
      WACKENHUT SERVICES, INC., an                        Filed Under Separate Cover:
   17 unknown     business      entity;   G4S
      GOVERNMENT SOLUTIONS, INC.,                   (3) DECLARATION OF JOHN
   18 an unknown business entity; and DOES              BOLEN
      1 through 100, inclusive,
   19                                               Date:     July 2, 2021
                       Defendants.                  Time:     9:00 a.m.
   20                                               Crtrm.:   2
                                                    Judge:    Hon. John W. Holcomb
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        146084551.4
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 2 of 62 Page ID #:234




    1                                            TABLE OF CONTENTS
    2
                                                                                                                        Page
    3

    4 TABLE OF AUTHORITIES ...................................................................................... ii

    5 REQUEST FOR JUDICIAL NOTICE .................................................................... viii

    6
        MEMORANDUM OF POINTS AND AUTHORITIES............................................ 1
    7
        I.       INTRODUCTION ............................................................................................ 1
    8
        II.      STATEMENT OF FACTS............................................................................... 1
    9

   10            A.      PLAINTIFF’S COMPLAINT ......................................................................... 1

   11            B.      DEFENDANTS’ REMOVAL DATA AND EVIDENCE ..................................... 2
   12 III.       APPLICABLE LEGAL STANDARDS FOR CAFA REMOVALS ................ 3
   13
        IV.      PLAINTIFF HAS FAILED TO MEET HER BURDEN TO PROPERLY
   14            CHALLENGE DEFENDANTS’ CAFA AIC ALLEGATIONS...................... 4
   15 V.         DEFENDANTS HAVE ESTABLISHED THAT THE AIC MORE
   16            LIKELY THAN NOT EXCEEDS $5 MILLION ............................................. 5

   17            A.      DEFENDANTS’ EVIDENCE IN SUPPORT OF THEIR CALCULATIONS ........... 5
   18            B.      THE UNPAID WAGES CLAIMS AIC IS $2,401,806.24 .............................. 8
   19
                 C.      THE BREAK VIOLATIONS CLAIMS AIC IS $2,269,924.33 ...................... 12
   20
                 D.      THE WAITING TIME PENALTIES CLAIM AIC IS $2,758,312.65 ............. 17
   21
                 E.      THE WAGE STATEMENT PENALTY CLAIM AIC IS $1,076,400 .............. 21
   22

   23            F.      THE RECORDKEEPING PENALTIES CLAIM AIC IS $267,000 .................. 23

   24            G.      PLAINTIFF DOES NOT CHALLENGE THE ATTORNEYS’ FEES AIC .......... 24
   25 VI.        CONCLUSION .............................................................................................. 25
   26

   27

   28

        146084551.5                                               i
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 3 of 62 Page ID #:235




    1                                       TABLE OF AUTHORITIES
    2                                                                                                             Page(s)
    3
        Federal Cases
    4
        Altamirano v. Shaw Indus., Inc.,
    5
           2013 WL 2950600 (N.D. Cal. June 14, 2013) ............................................. 18, 20
    6
        Andrade v. Beacon Sales Acquisition, Inc.,
    7     2019 WL 4855997 (C.D. Cal. Oct. 1, 2019) ........................................................ 7
    8
      Archuleta v. Avcorp Composite Fabrication, Inc.,
    9    2018 WL 6382049 (C.D. Cal. Dec. 6, 2018)............................................ 5, 14, 22
   10 Arias v. Residence Inn by Marriott,

   11       936 F.3d 920 (9th Cir. 2019) .................................................................. 3, 4, 6, 19

   12 Bazuaye v. INS,
            79 F.3d 118 (9th Cir.1996) ................................................................................. 24
   13

   14 Behrazfar v. Unisys Corp.,
            687 F.Supp.2d 999 (C.D. Cal. 2009) .................................................................... 4
   15
        Byrd v. Masonite Corp.,
   16
           2016 WL 2593912 (C.D. Cal. May 5, 2016)...................................................... 11
   17
        Chavez v. JPMorgan Chase & Co.,
   18     888 F.3d 413 (9th Cir. 2018) .............................................................................. 24
   19
      Cohn v. Petsmart, Inc.,
   20   281 F.3d 837 (9th Cir. 2002) ................................................................................ 3
   21 Cortez v. Parker-Hannifin Corp.,

   22       2020 WL 5905435 (C.D. Cal. Oct. 6, 2020) ............................................ 5, 12, 13

   23 Danielsson v. Blood Centers of Pac.,
            2019 WL 7290476 (N.D. Cal. Dec. 30, 2019) ................................................... 16
   24

   25 Dart Cherokee Basin Operating Co., LLC v. Owens,
            574 U.S. 81 (2014) ........................................................................... 3, 4, 6, 13, 19
   26
        Dawson v. Hitco Carbon Composites, Inc.,
   27
          2016 WL 7235629 (C.D. Cal. Dec. 14, 2016)...................................................... 7
   28

        146084551.5                                              ii
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 4 of 62 Page ID #:236




    1 Eberle v. City of Anaheim,

    2
            901 F.2d 814 (9th Cir. 1990) .............................................................................. 24

    3 Ehrman v. Cox Comm’ns, Inc.,
            932 F.3d 1223 (9th Cir. 2019) .............................................................................. 3
    4

    5 Elizarraz v. United Rentals, Inc.,
            2019 WL 1553664 (C.D. Cal. Apr. 9, 2019) ...................................................... 16
    6
        Fritsch v. Swift Transp. Co. of Ariz., LLC,
    7
           899 F.3d 785 (9th Cir. 2018) .............................................................................. 24
    8
        Garibay v. Archstone Communities, LLC,
    9     539 F. App’x 763 (9th Cir. 2013) ..................................................... 13, 14, 19, 20
   10
      Garza v. Brinderson Constructors, Inc.,
   11   178 F.Supp.3d 906 (N.D. Cal. 2016).................................................................. 19
   12 Geerlof v. C & S Wholesale Grocers, Inc.,

   13       2014 WL 1415974 (E.D. Cal. Apr. 14, 2014) ...................................................... 3

   14 Gen. Dentistry For Kids, LLC v. Kool Smiles, P.C.,
            379 F. App’x 634 (9th Cir. 2010) ......................................................................... 3
   15

   16 Hanlon v. Chrysler Corp.,
            150 F.3d 1011 (9th Cir. 1998) ............................................................................ 24
   17
        Herrera v. Carmax Auto Superstores Cal., LLC,
   18
          2014 WL 12586254 (C.D. Cal. June 12, 2014).................................... 4, 9, 11, 14
   19
        Hines v. Constellis Integrated Risk Mgmt. Servs.,
   20      2020 WL 5764400 (C.D. Cal. Sept. 25, 2020) ............................................... 7, 25
   21
      Ibarra v. Manheim Invs., Inc.,
   22    775 F.3d 1193 (9th Cir. 2015) ...................................................................... 3, 4, 6
   23 Janis v. Health Net, Inc.,

   24       472 F. App’x 533 (9th Cir. Mar. 20, 2012) .......................................................... 6
   25 Jimenez v. Allstate Ins. Co.,
            2011 WL 65764 (C.D. Cal. Jan. 7, 2011) ............................................................. 7
   26

   27 Lewis v. Verizon Commc’ns, Inc.,
            627 F.3d 395 (9th Cir. 2010) .................................................................... 5, 14, 20
   28

        146084551.5                                             iii
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 5 of 62 Page ID #:237




    1 Long v. Destination Maternity Corp.,

    2
            2016 WL 1604968 (S.D. Cal. Apr. 21, 2016) .................................................... 14

    3 Lopez v. Aerotek, Inc.,
            2015 WL 2342558 (C.D. Cal. May 14, 2015).......................................... 5, 15, 22
    4

    5 Lowdermilk v. U.S. Bank Nat’l Ass’n,
            479 F.3d 994 (9th Cir. 2007) .............................................................................. 19
    6
        Lucas v. Michael Kors (USA), Inc.,
    7
           2018 WL 2146403 (C.D. Cal. May 9, 2018).............................. 4, 5, 6, 11, 14, 19
    8
        Lucero v. Pennella,
    9      2019 WL 3387094 (E.D. Cal. July 26, 2019)....................................................... 1
   10
      M.O. Dion & Sons, Inc. v. VP Racing Fuels, Inc.,
   11   2019 WL 4750116 (C.D. Cal. Sept. 27, 2019) ..................................................... 5
   12 Marentes v. Key Energy Servs. Cal, Inc.,

   13       2015 WL 756516 (E.D. Cal. Feb. 23, 2015) ...................................................... 18

   14 Mariscal v. Arizona Tile, LLC,
            2021 WL 1400892 (C.D. Cal. Apr. 15, 2021) .................................................... 20
   15

   16 Mejia v. DHL Express (USA), Inc.,
            2015 WL 2452755 (C.D. Cal. May 21, 2015).............................................. 14, 20
   17
        Mendoza v. Savage Servs. Corp.,
   18
          2019 WL 1260629 (C.D. Cal. Mar. 19, 2019) ................................................... 17
   19
        Muniz v. Pilot Travel Ctrs. LLC,
   20     2007 WL 1302504 (E.D. Cal. Apr. 30, 2007) .................................... 4, 10, 12, 19
   21
      Nunes v Home Depot U.S.A., Inc.,
   22   2019 WL 4316903 (E.D. Cal. Sept. 12, 2019) ....................................... 15, 22, 24
   23 Oda v. Gucci Am., Inc.,

   24       2015 WL 93335 (C.D. Cal. Jan. 7, 2015) ................................................. 4, 10, 16
   25 Olson v. Becton, Dickinson and Co.,
            2019 WL 4673329 (S.D. Cal. Sept. 25, 2019) ................................................... 16
   26

   27 Perez v. Safety-Kleen Sys., Inc.,
            448 F. App’x 707 (9th Cir. 2011) ....................................................................... 24
   28

        146084551.5                                             iv
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 6 of 62 Page ID #:238




    1 Rahmatullah v. Charter Commc’ns, LLC,

    2
            2020 WL 4014746 (C.D. Cal. July 15, 2020) .................................................... 19

    3 Ramirez v. Carefusion Resources, LLC,
            2019 WL 2897902 (S.D. Cal. July 5, 2019) ....................................................... 22
    4

    5 Ramos v. MOOG Inc.,
            2020 WL 969023 (C.D. Cal. Feb. 27, 2020) ...................................................... 24
    6
        Ramos v. Schenker, Inc.,
    7
          2018 WL 5779978 (C.D. Cal. Nov. 1, 2018) ..................................................... 20
    8
        Rea v. Michaels Stores Inc.,
    9     742 F.3d 1234 (9th Cir. 2014) .............................................................................. 5
   10
      Ritenour v. Carrington Mortg. Servs. LLC,
   11    228 F.Supp.3d 1025 (C.D. Cal. 2017) ................................ 8, 9, 10, 12, 14, 15, 19
   12 Roa v. TS Staffing Servs., Inc.,

   13       2015 WL 300413 (C.D. Cal. Jan. 22, 2015) ......................................................... 5

   14 Rodriguez v. AT & T Mobility Servs. LLC,
            728 F.3d 975 (9th Cir. 2013) .............................................................................. 19
   15

   16 Ruano v. Sears Roebuck & Co.,
            2015 WL 6758130 (C.D. Cal. Nov. 5, 2015) ....................................................... 6
   17
        Salazar v. PODS Enters., LLC,
   18
           2019 WL 2023726 (C.D. Cal. May 8, 2019)...................................................... 15
   19
        Salcido v. Evolution Fresh, Inc.,
   20      2016 WL 79381 (C.D. Cal. Jan. 6, 2016) ........................................................... 22
   21
      Sanchez v. Monumental Life Ins. Co.,
   22    102 F.3d 398 (9th Cir. 1996) ................................................................................ 3
   23 Sanchez v. Russell Sigler, Inc.,

   24       2015 WL 12765359 (C.D. Cal. Apr. 28, 2015) .................................................. 14
   25 Smith v. Diamond Resorts Mgmt. Inc.,
            2016 WL 356020 (C.D. Cal. Jan. 29, 2016) ....................................................... 14
   26

   27 Soratorio v. Tesoro Ref. & Mktg. Co., LLC,
            2017 WL 1520416 (C.D. Cal. Apr. 26, 2017) ................................................ 6, 10
   28

        146084551.5                                             v
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 7 of 62 Page ID #:239




    1 Tajonar v. Echosphere, L.L.C.,

    2
            2015 WL 4064642 (S.D. Cal. July 2, 2015) ....................................................... 14

    3 Terrell v. Samuel, Son & Co. (USA), Inc.,
            2020 WL 2797299 (May 29, 2020) .................................................................... 16
    4

    5 Torrez v. Freedom Mortg., Corp.,
            2017 WL 2713400 (C.D. Cal. June 22, 2017).......................................... 9, 10, 18
    6
        United States v. Gianelli,
    7
          543 F.3d 1178 (9th Cir. 2008) ............................................................................ 24
    8
        Unutoa v. Interstate Hotels & Resorts, Inc.,
    9     2015 WL 898512 (C.D. Cal. Mar. 3, 2015) ..................................................... 4, 5
   10
      Van v. Language Line Servs., Inc.,
   11   2016 WL 3143951 (N.D. Cal. June 6, 2016) ....................................................... 2
   12 Vaquero v. Ashley Furniture Indus., Inc.,

   13       2012 WL 12965744 (C.D. Cal. Dec. 3, 2012)...................................................... 3

   14 Vasquez v. Blue Cross of Cal.,
            2015 WL 2084592 (C.D. Cal. May 5, 2015)........................................................ 6
   15

   16 Vasquez v. RSI Home Prods., Inc.,
            2020 WL 6778772
   17       (C.D. Cal. Nov. 12, 2020) ...............6, 7, 9, 10, 11, 13, 14, 15, 16, 18, 19, 22, 24
   18
      Weston v. Helmerich & Payne Int’l Drilling Co.,
   19   2013 WL 5274283 (E.D. Cal. Sept. 17, 2013) ............................................. 13, 14
   20 Wheatley v. MasterBrand Cabinets, LLC,

   21       2019 WL 688209 (C.D. Cal. Feb. 19, 2019) ...................................................... 14

   22 Wilson v. Best Buy Co.,
            2011 WL 445848 (E.D. Cal. Feb. 8, 2011) .......................................................... 7
   23

   24 Federal Statutes

   25 28 U.S.C. § 1332(d)(2)(A) ......................................................................................... 1

   26 28 U.S.C. § 1332(d)(3), (4)........................................................................................ 1

   27
        28 U.S.C. § 1446(a) ................................................................................................... 6
   28

        146084551.5                                                 vi
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 8 of 62 Page ID #:240




    1 State Statutes

    2 Cal. Civ. Proc. Code § 1021.5 ................................................................................. 24

    3
        Cal. Lab. Code § 203 ............................................................................................... 20
    4
        Cal. Lab. Code § 226 ............................................................................................... 22
    5

    6 Cal. Lab. Code § 1174(c) ......................................................................................... 23

    7 Cal. Lab. Code § 1174(d) ........................................................................................ 23

    8 Cal. Lab. Code § 1174.5 .......................................................................................... 23

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        146084551.5                                               vii
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 9 of 62 Page ID #:241




    1                           REQUEST FOR JUDICIAL NOTICE
    2 TO THE HONORABLE JOHN W. HOLCOMB, UNITED STATES DISTRICT

    3 JUDGE, AND TO PLAINTIFF AND HER ATTORNEYS OF RECORD:

    4            Pursuant to Fed. R. Evid. 201(b) and (d), Defendants Centerra Services
    5 International, Inc., Centerra Group, LLC, Wackenhut Services, Inc., and G4S

    6 Government Solutions, Inc. (collectively, “Defendants”) hereby request that the

    7 Court take judicial notice of the following documents attached hereto in support of

    8 their Opposition to Plaintiff’s Motion to Remand Pursuant to 28 U.S.C. § 1447 [Dkt.

    9 #13]:

   10

   11            Exhibit A: Class Action Complaint for Damages filed by Plaintiff Felipe
   12                        Vasquez on July 7, 2020, in Orange County Superior Court (Case
   13                        No. 30-2020-01147088-CU-OE-CXC), and thereafter removed to
   14                        the United States District Court for the Central District of
   15                        California, in the action titled Felipe Vasquez v. RSI Home
   16                        Products, Inc., et al., C.D. Cal. Case No. 8:20-cv-01494-JWH-
   17                        JDE [Dkt. #1-1].
   18

   19            Defendants’ request is made pursuant to Fed. R. Evid. Rule 201(b) and (d) on
   20 the grounds that the foregoing document is a proper subject for judicial notice

   21 because it is a record of this Court and its contents are not subject to reasonable

   22 dispute and are capable of accurate and ready determination by resort to sources

   23 whose accuracy cannot reasonably be questioned. See, e.g., California v. Johnson,

   24 2018 WL 4214650, at *1 (E.D. Cal. Sept. 5, 2018) (“Courts in the Ninth Circuit

   25 regularly grant requests for judicial notice in deciding remand motions.”); Vasserman

   26 v. Henry Mayo Newhall Mem’l Hosp., 65 F.Supp.3d 932, 941 (C.D. Cal. 2014)

   27 (Morrow, J.) (“A court can consider evidence in deciding a remand motion, including

   28 documents that can be judicially noticed.”); see also, e.g., Reyn’s Pasta Bella, LLC v.

        146084551.5                               viii
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 10 of 62 Page ID #:242




    1 Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006) (taking judicial notice of

    2 pleadings, briefs and other court filings).

    3

    4 Dated: June 11, 2021                    MCGUIREWOODS LLP
    5
                                              By: /s/ Amy E. Beverlin
                                                  Sabrina A. Beldner | Sylvia J. Kim
    6                                             Amy E. Beverlin
                                                  Attorneys for Defendants
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        146084551.5                                 ix
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 11 of 62 Page ID #:243




    1                   MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.         INTRODUCTION
    3            This Court has subject matter jurisdiction under the Class Action Fairness Act
    4 (“CAFA”).         As shown herein, Defendants Centerra Services International, Inc.
    5 (“CSI”), Centerra Group, LLC (“CGL”), Wackenhut Services, Inc., and G4S

    6 Government Solutions, Inc. (collectively, “Defendants”) have met their burden to

    7 prove that the amount in controversy (“AIC”) on Plaintiff’s putative class action

    8 claims more likely than not exceeds $5 million.1 Plaintiff, however, has failed to

    9 proffer any alternative calculations, controverting evidence, or authority to dispute

   10 the reasonableness of Defendants’ AIC calculations, which are based on CSI’s and

   11 CGL’s payroll, timekeeping, and employment data for putative class members

   12 (“PCMs”) and are consistent with the allegations in Plaintiff’s Complaint. Thus, her

   13 unsubstantiated challenge to removal fails, and the Motion should be denied.

   14 II.        STATEMENT OF FACTS
   15            A.    PLAINTIFF’S COMPLAINT
   16            Plaintiff purports to allege ten causes of action for: (1) failure to pay overtime
   17 wages; (2) failure to provide meal periods; (3) failure to provide rest periods; (4)

   18 failure to pay minimum wages; (5) failure to timely pay final wages; (6) failure to

   19 timely pay wages during employment; (7) wage statement violations; (8)

   20 recordkeeping violations; (9) unreimbursed business expenses; and (10) violations of

   21 California’s Unfair Competition Law (“UCL”). See Dkt. #1-1. She purports to bring

   22
                 1
   23            Plaintiff’s Motion does not contest Defendants’ assertion that the requisite
        minimum diversity of citizenship exists pursuant to 28 U.S.C. § 1332(d)(2)(A). In
   24   her Notice of Motion, she mentions in passing that “this case must be remanded
        because... all of the [PCMs] reside in California.” Dkt. #13 at ii:16-20. But she
   25   proffers no argument or authorities in support of this supposition in her
        Memorandum of Points and Authorities, and the Court should disregard this wholly
   26   unsupported contention. See, e.g., Lucero v. Pennella, 2019 WL 3387094, at *11
        (E.D. Cal. July 26, 2019). In any event, the exceptions to CAFA jurisdiction
   27   premised on the citizenship of PCMs do not apply unless the “primary defendant,” or
        at least one defendant, is a California citizen and, as set forth in their Notice of
   28   Removal (“NOR”), it is undisputed that none of the defendants are California
        citizens. See Dkt. #1 (NOR), ¶¶ 16-19; see also 28 U.S.C. § 1332(d)(3), (4).
        146084551.5                                  1
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 12 of 62 Page ID #:244




    1 these claims on behalf of herself and “[a]ll current and former hourly-paid and non-

    2 exempt employees who worked for any of Defendants within the State of California

    3 at any time” within the four years preceding the filing of her Complaint “to final

    4 judgment.”       Id., ¶ 15. She seeks to recover, inter alia, unpaid wages, liquidated
    5 damages, break premiums, penalties, and attorneys’ fees and costs. Id., 23-28.

    6            B.   DEFENDANTS’ REMOVAL DATA AND EVIDENCE
    7            Defendants removed this action pursuant to CAFA on the grounds that, inter
    8 alia, the AIC exceeds $5 million. The data utilized in the NOR is detailed therein

    9 and was derived from voluminous timekeeping, payroll, and employment-related data

   10 pertaining to only PCMs employed by CSI as non-exempt hourly employees in

   11 California from February 24, 2017 to March 29, 20212 (the date on which the

   12 Complaint was served on Defendants). See Dkt. #1, ¶ 29 (summarizing CSI data

   13 used to calculate AIC); see also Declaration of John Bolen (“Bolen Decl.”), ¶¶ 5-6

   14 (summarizing data derived from CSI’s business records).

   15            Although properly included in calculating the AIC, the NOR did not include
   16 any sums for PCMs employed by CGL—a fact Plaintiff’s Motion conveniently

   17 ignores. See, e.g., Dkt. #1, ¶¶ 37, 46, 51, 60. An analysis of CGL’s timekeeping,

   18 payroll, and employment-related data for PCMs employed by it as non-exempt hourly

   19 employees during the same period provides the following additional data points:

   20      For the 4-Year SOL Period: (a) at least 901 PCMs were employed by CGL; (b)
            they worked an aggregate total of 237,420 workdays; (c) they worked an
   21       average of 6.56 recorded hours per workday; and (d) they were paid an average
            regular rate of $42.00 per hour;
   22
           For the 3-Year SOL Period: (a) at least 851 PCMs were employed by CGL, and
   23       137 of those PCMs separated from their employment; (b) those PCMs worked
            an average of 6.50 recorded hours per workday; and (c) those PCMs were paid
   24       an average effective hourly rate of $42.43 per hour; and
   25      For the 1-Year SOL Period: 422 PCMs were employed by CGL as non-exempt
   26            2
             Plaintiff’s UCL claim is predicated on her California Labor Code claims. See
   27 Dkt. #1-1, ¶ 116. Thus, as her proposed class definition reflects, she claims that the
      UCL’s four-year limitations period is properly applied to each of her underlying
   28 Labor Code wage claims. See, e.g., Van v. Language Line Servs., Inc., 2016 WL
      3143951, at *9 (N.D. Cal. June 6, 2016).
        146084551.5                               2
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 13 of 62 Page ID #:245




    1          employees in California and were issued a total of 9,277 wage statements.
    2 Bolen Decl., ¶¶ 8-9 (summarizing data derived from CGL’s business records).3

    3            As we discuss below, Defendants’ AIC calculations are reasonably and
    4 conservatively based on this data supplied by the accompanying Declaration of John

    5 Bolen and on reasonable assumptions rooted in the indeterminate allegations of

    6 Plaintiff’s Complaint—which courts have held can reasonably be interpreted to imply

    7 nearly 100% violation rates for making AIC calculations.

    8 III.       APPLICABLE LEGAL STANDARDS FOR CAFA REMOVALS
    9            Unlike removals based on traditional diversity jurisdiction, “[n]o antiremoval
   10 presumption attends cases invoking CAFA ....”             Dart Cherokee Basin Operating
   11 Co., LLC v. Owens, 574 U.S. 81, 89 (2014) (“Dart”); Arias v. Residence Inn by

   12 Marriott, 936 F.3d 920, 922 (9th Cir. 2019) (“The Supreme Court has made clear that

   13 regardless of whether such a presumption exists in run-of-the-mill diversity cases, ‘no

   14 antiremoval presumption attends cases invoking CAFA.’”). Instead, under CAFA,

   15 any doubts as to whether a class action should proceed in state or federal court should

   16 be resolved in favor of federal jurisdiction. See S. Rep. No. 109-14, at 43 (2005).4

   17            Moreover, under CAFA, a removing defendant is only required to prove the
   18 AIC by a preponderance of the evidence. Ibarra v. Manheim Invs., Inc., 775 F.3d

   19 1193, 1197 (9th Cir. 2015). “Under this burden, the defendant must provide evidence

   20 establishing that it is ‘more likely than not’ that the amount in controversy exceeds

   21 that amount.” Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir.

   22
                 3
                      Courts should consider supplemental evidence later proffered by a removing
   23 defendant to support jurisdiction. See Cohn v. Petsmart, Inc., 281 F.3d 837, 840 n.1
        (9th Cir. 2002); see also Gen. Dentistry For Kids, LLC v. Kool Smiles, P.C., 379 F.
   24 App’x 634, 636 (9th Cir. 2010) (“a district court may consider later-provided
        evidence as amending a defendant’s notice of removal”); Geerlof v. C & S Wholesale
   25 Grocers, Inc., 2014 WL 1415974, at *2 (E.D. Cal. Apr. 14, 2014) (same); Vaquero v.
        Ashley Furniture Indus., Inc., 2012 WL 12965744, at *2 (C.D. Cal. Dec. 3, 2012)
   26 (Anderson, J.) (a court may “consider supplemental evidence later proffered by the
      removing defendant, which was not originally included in the removal notice”).
   27       4
              See also Ehrman v. Cox Comm’ns, Inc., 932 F.3d 1223, 1226 (9th Cir. 2019)
   28 (“Congress   enacted CAFA with the ‘intent ... to strongly favor the exercise of federal
      diversity jurisdiction over class actions with interstate ramifications.’”).
        146084551.5                                   3
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 14 of 62 Page ID #:246




    1 1996).          This evidentiary standard does not place a “daunting” burden on the
    2 defendant, who need not prove the plaintiff’s claims for damages. Muniz v. Pilot

    3 Travel Ctrs. LLC, 2007 WL 1302504, at *5 (E.D. Cal. Apr. 30, 2007).5

    4            Instead, a removing defendant may rely on “a chain of reasoning that includes
    5 assumptions,” and “an assumption may be reasonable if it is founded on the

    6 allegations of the complaint.” Arias, 936 F.3d at 925.6 In other words, while a

    7 defendant’s assumptions “need some reasonable ground underlying them,” Ibarra,

    8 775 F.3d at 1199, the plaintiff’s complaint may supply that reasonable ground, Arias,

    9 936 F.3d at 925. There is simply “no obligation by [a] defendant to support removal

   10 with production of extensive business records to prove or disprove liability and/or

   11 damages with respect to Plaintiff or the [PCMs] at this premature (pre-certification)

   12 stage of the litigation.” Muniz, 2007 WL 1302504, at *5 (emph. added).7

   13
        IV.      PLAINTIFF HAS FAILED TO MEET HER BURDEN TO PROPERLY
   14            CHALLENGE DEFENDANTS’ CAFA AIC ALLEGATIONS

   15            When a removing defendant’s AIC calculations are challenged by a remand
   16 motion, both sides must submit proof, and then the Court decides, based on a

   17 preponderance of the evidence, if the AIC requirement is satisfied. See Dart, 574

   18 U.S. at 88; Ibarra, 775 F.3d at 1197-98. Thus, to properly challenge Defendants’

   19 AIC allegations, Plaintiff was required to submit proof that less than $5 million is in

   20
                 5
   21            See also Behrazfar v. Unisys Corp., 687 F.Supp.2d 999, 1004 (C.D. Cal.
        2009) (Guilford, J.) (“The removing party’s burden is ‘not daunting,’ and defendants
   22   are not obligated to ‘research, state, and prove the plaintiff’s claims for damages.’”).
               6
                 See, e.g., Oda v. Gucci Am., Inc., 2015 WL 93335, *5 (C.D. Cal. Jan. 7,
   23   2015) (Wilson, J.) (“a defendant may calculate the [AIC] based on reasonable
        assumptions”); Unutoa v. Interstate Hotels & Resorts, Inc., 2015 WL 898512, at *3
   24   (C.D. Cal. Mar. 3, 2015) (Wilson, J.) (“Removing defendants will inevitably rely on
        some assumptions to support removal; a removing defendant is not required to go so
   25   far as to prove Plaintiff’s case for him by proving the actual rates of violation.”).
               7
   26            See Lucas v. Michael Kors (USA), Inc., 2018 WL 2146403, at *7 (C.D. Cal.
        May 9, 2018) (Fitzgerald, J.) (defendants not “required to prove Plaintiff’s case for
   27   [him] by proving the actual rates of violation” but instead may rely on assumptions to
        support AIC calculations); Herrera v. Carmax Auto Superstores Cal., LLC, 2014 WL
   28   12586254, at *5-6 (C.D. Cal. June 12, 2014) (Fitzgerald, J.) (defendant “cannot be
        expected to produce evidence of how often overtime violations may occur”).
        146084551.5                                4
              DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 15 of 62 Page ID #:247




    1 controversy—but she has not submitted any evidence of “the frequency and extent of

    2 the violations [she] purports to have suffered.” Cortez v. Parker-Hannifin Corp.,

    3 2020 WL 5905435, at *4 (C.D. Cal. Oct. 6, 2020) (Birotte, J.).8

    4            Indeed, “Plaintiff[] fail[s] to offer any facts to demonstrate that the claimed
    5 damages are less than the threshold amount required.” M.O. Dion & Sons, Inc. v. VP

    6 Racing Fuels, Inc., 2019 WL 4750116, at *4 (C.D. Cal. Sept. 27, 2019) (Fitzgerald,

    7 J.) (emph. in orig.). Instead, she “merely argues that Defendant’s evidentiary support

    8 is lacking.” Id. That argument is demonstrably insufficient to warrant remand. See

    9 id.; see also Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395, 400 (9th Cir. 2010)

   10 (vacating remand order where plaintiff failed to proffer controverting evidence or

   11 allege that she sought less than $5 million); Cortez, 2020 WL 5905435, at *4-5

   12 (denying remand where plaintiff failed to rebut defendant’s evidence).

   13            Because Plaintiff has submitted no independent proof to contradict
   14 Defendants’ AIC calculations, she has failed to carry her burden to properly

   15 challenge the same, and remand can and should be denied on this basis alone.9

   16 V.         DEFENDANTS HAVE ESTABLISHED THAT THE AIC MORE
                 LIKELY THAN NOT EXCEEDS $5 MILLION
   17
                 A.    DEFENDANTS’ EVIDENCE IN SUPPORT OF THEIR CALCULATIONS
   18
                 Even if Plaintiff had properly challenged Defendants’ AIC calculations (and
   19
        she has not), Defendants have otherwise met their burden here. Plaintiff erroneously
   20
                 8
   21            See also Unutoa, 2015 WL 898512, at *3 (“Plaintiff fails to assert any
        different rate of violation or to submit any evidence indicating a contrary rate of
   22   violation. [He] does not even submit his own declaration stating that he experienced
        less frequent rates of violation than those asserted by Defendants.”).
   23          9
                 See, e.g., Rea v. Michaels Stores Inc., 742 F.3d 1234, 1239 (9th Cir. 2014)
   24   (reversing remand order where plaintiff presented no evidence contradicting AIC);
        Lucas, 2018 WL 2146403, at *6 (denying remand where plaintiff submitted “no
   25   countervailing evidence”); Roa v. TS Staffing Servs., Inc., 2015 WL 300413, at *1-2
        (C.D. Cal. Jan. 22, 2015) (Wright, J.) (denying remand where plaintiff only
   26   challenged sufficiency of defendant’s evidence but did not submit any controverting
        evidence); Lopez v. Aerotek, Inc., 2015 WL 2342558, at *3 (C.D. Cal. May 14, 2015)
   27   (Carney, J.) (denying remand where plaintiff challenged assumed violation rates but
        did not suggest alternatives); Archuleta v. Avcorp Composite Fabrication, Inc., 2018
   28   WL 6382049, at *4-5 (C.D. Cal. Dec. 6, 2018) (Gutierrez, J.) (denying remand where
        “Plaintiff … presented no evidence contradicting the figures in the [declaration]”).
        146084551.5                                 5
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 16 of 62 Page ID #:248




    1 argues that “Defendants’ removal lacks evidentiary support.” Mot. at 1:2. But, in

    2 their NOR, Defendants were only required to—and did—submit a “short and plain

    3 statement” of the grounds for jurisdiction. 28 U.S.C. § 1446(a); Dart, 574 U.S. at 83-

    4 84. They were not required to submit any evidence unless and until their removal

    5 was challenged. See Arias, 936 F.3d at 922 (“notice of removal ‘need not contain

    6 evidentiary submission’”); see also Janis v. Health Net, Inc., 472 F. App’x 533, 534-

    7 35 (9th Cir. Mar. 20, 2012) (court erred in refusing to consider evidence of AIC

    8 submitted after removal in response to a remand motion).

    9            Even once challenged, a defendant still need not produce evidence of its
   10 underlying business records to meet its evidentiary burden. See Soratorio v. Tesoro

   11 Ref. & Mktg. Co., LLC, 2017 WL 1520416, at *3 (C.D. Cal. Apr. 26, 2017)

   12 (Fitzgerald, J.) (declaration providing “summary of the underlying data derived from

   13 … business records” sufficient); Vasquez v. Blue Cross of Cal., 2015 WL 2084592,

   14 *5 (C.D. Cal. May 5, 2015) (Fitzgerald, J.) (defendant not required to provide

   15 specific values or data underlying AIC calculations). Thus, as this Court has held, a

   16 defendant is not required to produce documents setting forth the precise calculation

   17 of damages alleged. See, e.g., Vasquez v. RSI Home Prods., Inc., 2020 WL 6778772,

   18 at *8 (C.D. Cal. Nov. 12, 2020) (Holcomb, J.); see also, e.g., Lucas, 2018 WL

   19 2146403, at *2-3 (defendant properly substantiated AIC with declaration from

   20 Director of Payroll providing “a summary of the underlying data derived from

   21 [defendant’s] business, human resources, payroll, and timekeeping records”).

   22            It is axiomatic that parties may submit evidence outside the complaint,
   23 including affidavits or declarations, or other ‘summary-judgment-type evidence

   24 relevant to the amount in controversy at the time of removal.’” Ibarra, 775 F.3d at

   25 1197 (emph. added). “A declaration from a person with knowledge of the relevant

   26 data is clearly an appropriate form of evidence.” Ruano v. Sears Roebuck & Co.,

   27 2015 WL 6758130, at *4 (C.D. Cal. Nov. 5, 2015) (Gutierrez, J.). Thus, Defendants

   28 are not required to produce “work schedules, work schedules, timecards, or

        146084551.5                              6
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 17 of 62 Page ID #:249




    1 complaints from an employee hotline” to satisfy their evidentiary burden. See Mot.

    2 at 7:10-12.        An employee declaration summarizing the data underlying their AIC
    3 calculations – like the Bolen Decl. filed concurrently herewith – and the removing

    4 defendant’s reasonable assumptions based on the complaint are sufficient to satisfy

    5 the removing defendant’s burden to establish that the AIC has been met.10

    6            Indeed, prior to her filing the Motion, Defendants drew Plaintiff’s attention to
    7 Vasquez, in which the plaintiff was represented by Plaintiff’s counsel in this action;

    8 the complaint was identical to Plaintiff’s Complaint here; and this Court found the

    9 defendants’ declaration evidence to be sufficient.11 See Vasquez, 2020 WL 6778772,

   10 at *13.         They even provided Plaintiff with the previously-filed Bolen declaration
   11 from the related Hines case,12 which she dismissed as not “support[ing] the violation

   12 rates assumed in [the NOR]” (Dkt. #13-2 (p. 78))—notwithstanding that a removing

   13 defendant is not required to prove the actual rates of violation to establish the AIC.

   14 See Vasquez, 2020 WL 6778772, at *13. Thus, Plaintiff filed this meritless Motion.

   15
                 10
   16              See, e.g., Vasquez, 2020 WL 6778772, at *3 (denying remand and finding
        employee declaration summarizing data used to support AIC calculations was
   17   sufficient evidence); Andrade v. Beacon Sales Acquisition, Inc., 2019 WL 4855997,
        at *3 (C.D. Cal. Oct. 1, 2019) (Carney, J.) (declaration from defendants’ payroll
   18   director and reasonable assumptions based on complaint were sufficient); Dawson v.
        Hitco Carbon Composites, Inc., 2016 WL 7235629, at *2 (C.D. Cal. Dec. 14, 2016)
   19   (Gutierrez, J.) (declaration from Head of Human Resources which provided “general
        statistics gleaned from [its] records,” was sufficient evidence); Wilson v. Best Buy
   20   Co., 2011 WL 445848, *2 (E.D. Cal. Feb. 8, 2011) (denying remand and rejecting
        challenge to payroll manager’s declaration providing the number of employees,
   21   average hourly rate, and total workweeks); Jimenez v. Allstate Ins. Co., 2011 WL
        65764, at *2 (C.D. Cal. Jan. 7, 2011) (Matz, J.) (holding declaration from a human
   22   resources employee that “sets forth the estimated number of putative class members,
        their average hourly pay, and other relevant information,” is sufficient evidence).
                11
   23              Except for the complaints’ allegations regarding the parties, the claims and
        the supporting allegations in the Vasquez complaint and in Plaintiff’s Complaint are
   24   completely identical. Compare Dkt. #1-1 with RJN, Exh. A.
                12
   25              That Bolen declaration was filed in the related case of Hines v. Constellis
        Integrated Risk Mgmt. Servs., 2020 WL 5764400, at *2 (C.D. Cal. Sept. 25, 2020)
   26   (Anderson, J.), on behalf of the defendants there, which also included CGL and CSI,
        The court held that Bolen’s Hines declaration, along with the use of similar CSI and
   27   CGL data points for the relevant limitations period and reasonable assumptions
        derived from the Hines complaint, satisfied the defendants’ evidentiary burden to
   28   establish the CAFA $5 million AIC was met, and denied remand. Id. at *3. Hines
        is now pending before this Court.
        146084551.5                                 7
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 18 of 62 Page ID #:250




    1            B.    THE UNPAID WAGES CLAIMS AIC IS $2,401,806.24
    2            Plaintiff alleges that, during the 4-Year SOL Period, “Defendants … failed to
    3 compensate [her and other PCMs] for all hours worked ...” Dkt. #1-1, ¶ 21. She

    4 further alleges that they “engaged in a pattern and practice of wage abuse against

    5 [PCMs]” that allegedly “involved ... failing to pay them for all regular and/or

    6 overtime wages earned ....” Id., ¶ 27 (emph. added).

    7            With respect to her unpaid overtime wages claim, Plaintiff alleges that,
    8 “[d]uring the relevant time period, Defendants failed to pay overtime wages ... for all

    9 overtime hours worked.” Id., ¶ 39 (emph. added). She further alleges that she and

   10 other PCMs “were required to work more than eight (8) hours per day and/or forty

   11 (40) hours per week without overtime compensation for all overtime hours worked.”

   12 Id. (emph. added); id., ¶ 54 (“During the relevant period, Plaintiff and the other class

   13 members worked in excess of eight (8) hours in a day, and/or in excess of forty (40)

   14 hours in a week.” (emph. added)). She alleges that “Defendants intentionally and

   15 willfully failed to pay overtime wages to Plaintiff” and other PCMs. Id., ¶ 55.

   16            As to her unpaid minimum wages claim, Plaintiff contends that, “[d]uring the
   17 relevant time period, Defendants failed to pay Plaintiff [and other PCMs] at least

   18 minimum wages for all hours worked.” Id., ¶ 41 (emph. added); see also id., ¶ 80

   19 (“Defendants failed to pay minimum wage to Plaintiff and the other class members as

   20 required ....”); id., ¶ 47 (“Defendants failed to properly compensate Plaintiff and

   21 [other PCMs] pursuant to California law ....”). She seeks to recover, on behalf of

   22 herself and other PCMs, “the unpaid balance of their minimum wage compensation”

   23 and liquidated damages thereon. Id., ¶¶ 81-82.

   24            In short, Plaintiff has alleged in the broadest terms that Defendants engaged in
   25 a “pattern and practice of wage abuse” with respect to all PCMs. See, e.g., Ritenour

   26 v. Carrington Mortg. Servs. LLC, 228 F.Supp.3d 1025, 1029 (C.D. Cal. 2017) (100%

   27 violation rate reasonable given vague language of complaint and broad definition of

   28 class). Such “indeterminate allegations” provide “no indication of the frequency or

        146084551.5                                 8
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 19 of 62 Page ID #:251




    1 severity of the violations alleged.”      Torrez v. Freedom Mortg., Corp., 2017 WL
    2 2713400, at *4 (C.D. Cal. June 22, 2017) (Bernal, J.).13 Indeed, the Complaint is

    3 devoid of any fact-specific allegations explaining how Plaintiff and other PCMs

    4 incurred any unpaid time (e.g., rounding employees’ time, working off-the-clock

    5 work, etc.) or how often.14      Thus, Plaintiff’s allegations are “susceptible to broad
    6 interpretations,” including a nearly 100% violation rate. See id. (“generalized and

    7 indeterminate allegations,” including allegations of a “pattern and practice of wage

    8 abuse,” could “reasonably be interpreted to imply nearly 100% violation rates”).

    9            In fact, in Vasquez, 2020 WL 6778772, at *6-7, this Court found that it was
   10 reasonable for the defendants to assume that the plaintiffs and the PCMs had

   11 experienced a violation every workday based on identical allegations. In Vasquez,

   12 the plaintiff alleged – just as Plaintiff does here –that he and the PCMs “worked in

   13 excess of eight (8) hours in a day, and/or in excess of forty (40) hours in a week” and

   14 that “Defendants failed to pay overtime wages to Plaintiff and the [PCMs] for all

   15 overtime hours worked.” See id. at *7; Dkt. #1-1, ¶¶ 39, 54. The Vasquez plaintiff –

   16 just like Plaintiff here – also alleged a “pattern and practice” of wage abuse. See

   17 Vasquez, 2020 WL 6778772, at *7; Dkt. #1-1, ¶ 27. This Court held that “Vasquez’s

   18 Complaint unambiguously allege[d] that the wage violation occurred universally (i.e.,

   19 that Vasquez and the PCMs worked more than eight hours per day and in excess of

   20 40 hours per week during the Relevant Period).” Vasquez, 2020 WL 6778772, at *7.

   21            Defendants are “not ‘required to comb through [their] records to identify and
   22 calculate the exact frequency of violations,’ ... particularly when the Complaint

   23 provides little, if any, help in identifying the alleged violations.”     Ritenour, 228
   24 F.Supp.3d at 1030. Rather, “given the vague language of the Complaint and the

   25
                 13
   26           See also Herrera, 2014 WL 12586254, at *2 (a plaintiff cannot “avoid
      federal jurisdiction by purposefully opaque pleading”).
   27       14
                Plaintiff also appears to allege a “practice” of “rounding time recorded for
   28 compensation    of regular and overtime wages”; however, there are no allegations in
      the Complaint regarding such a practice. Dkt. #1-1, ¶ 15.
        146084551.5                                9
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 20 of 62 Page ID #:252




    1 broad definition of the class,” they can reasonably assume a 100% violation rate with

    2 respect to the unpaid wages claims—“especially since [Plaintiff] offer[s] no

    3 alternative rate to challenge [their] calculations.”   Id.; see also Muniz, 2007 WL
    4 1302504, at *4 (“[P]laintiff includes no fact-specific allegations that would result in

    5 a putative class or violation rate that is discernibly smaller than 100%, used by

    6 defendant in its calculations. Plaintiff is the ‘master of [her] claim[s],’ and if she

    7 wanted to avoid removal, she could have alleged facts specific to her claims which

    8 would narrow the scope of the putative class or the damages sought.” (emph. added)).

    9            As set forth in Defendants’ NOR, PCMs who were employed by CSI only
   10 during the 4-Year SOL Period worked an average of 8.13 hours per workday during

   11 that same period. See Bolen Decl., ¶ 7(d)(ii). In other words, PCMs on average

   12 worked over 8 hours per day—which is consistent with Plaintiff’s allegations. See

   13 Vasquez, 2020 WL 6778772, at *7. Thus, any time worked by PCMs that allegedly

   14 went unpaid is payable at the overtime rate because any such time adds to a workday

   15 that already exceeds 8 hours on average. Further, even though the Complaint can

   16 reasonably be interpreted to imply nearly 100% violation rates,15 Defendants

   17 conservatively calculated all unpaid wages violations as resulting in only 12 minutes

   18 (or 0.20 hours) of unpaid time per workday,16 which estimate is reasonable and

   19 sufficiently     supported by their evidence and Plaintiff’s “generalized and
   20 indeterminate” allegations. See Torrez, 2017 WL 2713400, at *4.17

   21
                 15
   22              See, e.g., Muniz, 2007 WL 1302504, at *4 (100% violation rate was
        appropriate where plaintiff alleged that PCMs “were not always paid all wages and
   23   overtime due,” but made no fact-specific allegations of a violation rate “discernably
        smaller than 100%” (emph. added)).
               16
   24             Plaintiff mischaracterizes the AIC calculations as “assum[ing] that each
        PCM worked 12 minutes of overtime and 12 minutes off-the-clock each day.” Mot.
   25   at 1:10-11. But that is not true. Defendants have only ever assumed 12 minutes total
        of unpaid time per day. See NOR, ¶ 35.
   26          17
                  See, e.g., Soratorio, 2017 WL 1520416, at *3-4 (reasonable to assume 12
   27   minutes per day of unpaid overtime where plaintiff alleged PCMs “often worked
        before and after their scheduled shifts” and defendant provided declaration that PCMs
   28   averaged more than 8 hours a day); Oda, 2015 WL 93335, at *4 (reasonable to
        assume at least 1 hour of unpaid overtime per week given allegations defendant
        146084551.5                             10
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 21 of 62 Page ID #:253




    1            Based on the foregoing, Defendants conservatively estimated the AIC on the
    2 unpaid wage claims in the NOR for CSI PCMs only to be $954,570.24 [95,610

    3 workdays x 0.20 hours/workday x $49.92 overtime rate ($33.28 effective hourly rate

    4 x 1.5)]. NOR, ¶¶ 36-37. But Plaintiff also seeks liquidated damages in connection

    5 with her minimum wage claim. Dkt. #1-1, ¶ 83; see Lucas, 2018 WL 2146403, at *6

    6 (liquidated damages properly included in AIC). Based on the reasonable assumption

    7 that there were at least 12 minutes of allegedly unpaid time per day, and applying the

    8 lowest applicable minimum wage in the statutory period of $10.50/hour to the 95,610

    9 days worked by PCMs for CSI only, Defendants conservatively estimated the AIC

   10 on Plaintiff’s liquidated damages request in the NOR to be no less than $200,781

   11 [95,610 workdays x 0.20 hours/workday x $10.50/hour].18 See NOR, ¶ 39.

   12            Defendants’ data also shows that CGL PCMs worked on average 6.56
   13 recorded hours per workday.        Bolen Decl., ¶ 9(d)(ii). While the Complaint can
   14 reasonably be interpreted to imply nearly 100% violation rates, Defendants

   15 conservatively calculate all unpaid wages violations for CGL PCMs as resulting in

   16 only 6 minutes (or 0.10 hours) of unpaid straight time per workday to account for

   17 their average workday length, notwithstanding the Complaint’s allegations that PCMs

   18 worked more than 8 hours per day and in excess of 40 hours per week. Cf. Vasquez,

   19 2020 WL 6778772, at *7. Thus, Defendants’ estimate that the additional AIC on the

   20 unpaid wage claims for CGL PCMs is at least $997,164 [237,420 workdays x 0.10

   21 hours/workday x $42.00 effective hourly rate], plus liquidated damages of $249,291

   22

   23 “sometimes” failed to pay overtime); Herrera, 2014 WL 12586254, at *5-6
        (estimated 1 hour of unpaid overtime per week reasonable because defendant “cannot
   24 be expected to produce evidence of how often overtime violations may occur”); see
        also, e.g., Byrd v. Masonite Corp., 2016 WL 2593912, at *5 (C.D. Cal. May 5, 2016)
   25 (Bernal, J.) (accepting assumption of 1 hour of unpaid overtime per pay period as
      reasonable where the plaintiff offered no alternative violation rate).
   26        18
                From January 1, 2017 through January 1, 2018, the state minimum wage was
   27 $10.50.   See https://www.dir.ca.gov/iwc/MinimumWageHistory.htm. The minimum
      wage is currently $13.00 per hour, so this AIC is considerably undercalculated. See
   28 https://www.dir.ca.gov/dlse/faq_minimumwage.htm. Tellingly, Plaintiff does not
      challenge the reasonableness of this liquidated damages calculation.
        146084551.5                              11
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 22 of 62 Page ID #:254




    1 [237,420 workdays x 0.10 hours/workday x $10.50/hour].

    2            Thus, Defendants have sufficiently established that the total AIC on Plaintiff’s
    3 minimum and overtime wage claims is at least $2,401,806.24.

    4            C.    THE BREAK VIOLATIONS CLAIMS AIC IS $2,269,924.33
    5            Plaintiff alleges that “Defendants engaged in a pattern and practice of wage
    6 abuse against their hourly-paid or non-exempt employees within the State of

    7 California. This pattern and practice [allegedly] involved, inter alia, failing to pay

    8 them ... for missed meal periods and rest breaks in violation of California law.” Dkt.

    9 #1-1, ¶ 27 (emph. added). She claims that “Defendants knew or should have known

   10 that [she] and other [PCMs] were entitled to receive all meal [and rest] periods or

   11 payment for one additional hour of pay at [her] and the other [PCMs’] regular rate of

   12 pay when a meal [or rest] period was missed, and they did not receive all meal [and

   13 all rest] periods or payment of one additional hour of pay and [their] regular rate of

   14 pay when a meal [or rest] period was missed.” Id., ¶¶ 30, 31. (emph. added); id., ¶ 40

   15 (“During the relevant time period, Defendants failed to provide all uninterrupted meal

   16 and rest periods to Plaintiff and [other PCMs].”).19

   17            First, Plaintiff contends that the 20% violation rate utilized in Defendants’
   18 NOR is unsupported. Mot. at 10:1-3. But Defendants are “not ‘required to comb

   19 through [their] records to identify and calculate the exact frequency of violations,’ ...

   20 particularly when the Complaint provides little, if any, help in identifying the alleged

   21 violations.” Ritenour, 228 F.Supp.3d at 1030; see also Cortez, 2020 WL 5905435, at

   22 *4 (rejecting argument that timecards and schedules are required to prove violation

   23 rate). Indeed, the Complaint does not provide any “fact-specific allegations” as to

   24 how or how often Plaintiff and other PCMs were denied breaks. See Muniz, 2007 WL

   25
                See also Dkt. #1-1, ¶¶ 63-64 (alleging Plaintiff and PCMs “were required to
                 19

   26 work   for periods longer than five (5) hours without an uninterrupted meal period of
      not less than thirty (30) minutes and/or rest period” during 4-Year SOL Period); id., ¶
   27 73 (alleging Plaintiff and PCMs were “required” to work more than 4 hours “without
      authorizing or permitting a ten (10) minute rest period” during 4-Year SOL Period);
   28 id., ¶¶ 65-66, 74, 76 (alleging Defendants “willfully required” Plaintiff and PCMs to
      work during meal and rest periods during 4-Year SOL Period).
        146084551.5                                 12
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 23 of 62 Page ID #:255




    1 1302504, at *4. Given Plaintiff’s general allegations, it is reasonable for Defendants

    2 to assume a 100% violation rate with respect to her break violations, especially since

    3 she offers no alternative rate to challenge Defendants’ calculations. See, e.g., Cortez,

    4 2020 WL 5905435, at *3-5.

    5            Plaintiff argues that Defendants did not take into account whether any PCMs
    6 were part-time employees and/or not entitled to meal and rest breaks during the

    7 length of their shift—but this Court rejected the same arguments in Vasquez. See

    8 Vasquez, 2020 WL 6778772, at *8. In that case, this Court accepted the very same

    9 20% break violation rate as “reasonable” and “conservative,” especially given that

   10 the Vasquez plaintiff – like Plaintiff here – offered no evidence to challenge the break

   11 violation assumptions. Id. (citing like cases). As this Court reasoned in Vasquez,

   12 “there is no obligation that [Defendants] support removal by producing extensive

   13 business records to prove or disprove liability or damages with respect to [Plaintiff]

   14 or the putative class.”       Id.   “Rather, where, as here, [P]laintiff makes general
   15 allegations regarding the frequency of violations, [Defendants’] calculation of the

   16 [AIC] can be based upon reasonable assumptions.” Id..

   17            Plaintiff’s cases are inapposite and inapplicable. First, in Armstrong v. Ruan
   18 Transport. Co., the plaintiff’s allegations were far more limited and asserted only that

   19 defendant “failed to provide all legally required unpaid, off-duty meal periods and ...

   20 rest periods.” 2016 WL 6267931, at *2-3 (C.D. Cal. Oct. 25. 2016) (Phillips, J.)

   21 (emph. added). In contrast, Plaintiff alleges, without qualification, that she and other

   22 PCMs “did not receive all meal periods” and “did not receive all rest periods.” Dkt.

   23 #1-1 at ¶¶ 30-31 (emph. added). Second, Weston v. Helmerich & Payne Int’l Drilling

   24 Co., 2013 WL 5274283 (E.D. Cal. Sept. 17, 2013), was decided under Garibay v.

   25 Archstone Communities, LLC, 539 F. App’x 763 (9th Cir. 2013), and thus applied a

   26 completely different evidentiary standard than that required by Dart.20 See infra.

   27
                 20
   28           Though it was decided after Dart, the Court in Armstrong, 2016 WL
        6267931, at *4, erroneously relied on Garibay in finding that the defendants did not
        146084551.5                                13
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 24 of 62 Page ID #:256




    1 Third, unlike in Armstrong and Weston, Defendants’ AIC calculations are grounded

    2 in the allegations in Plaintiff’s Complaint. See Sanchez v. Russell Sigler, Inc., 2015

    3 WL 12765359, at *6 (C.D. Cal. Apr. 28, 2015) (Birotte, J.) (Weston inapplicable

    4 where assumed violation rate was supported by plaintiff’s own allegations).

    5            Second, Plaintiff does not proffer any evidence that the claimed violations
    6 occurred less than twice out of every 10 days (i.e., once per week), and proffers no

    7 violation rate of her own. Defendants are not “required to prove Plaintiff’s case for

    8 her by proving the actual rates of violation,” but instead may rely on assumptions to

    9 support their AIC calculations. Lucas, 2018 WL 2146403, at *7; Vasquez, 2020 WL

   10 6778772, at *8.       Indeed, “[w]hen a complaint alleges violations in broad, vague
   11 terms,” like here, “the removing defendant must make some estimate of how

   12 frequently violations occurred.” Herrera, 2014 WL 12586254, at *4 (emph. added)

   13 (denying remand).21 Plaintiff cannot “rely on the argument that [Defendants have]

   14 failed to prove the violation rate without alleging or offering evidence of a lower

   15 violation rate”—which she has failed to do. See Wheatley v. MasterBrand Cabinets,

   16 LLC, 2019 WL 688209, at *4 (C.D. Cal. Feb. 19, 2019) (Bernal, J.).22 Absent any

   17

   18 satisfy their evidentiary burden to establish the AIC on the plaintiff’s break claims.
        Similarly, in Smith v. Diamond Resorts Mgmt. Inc., 2016 WL 356020 (C.D. Cal. Jan.
   19   29, 2016), the Court relied predominantly on Weston—which, as discussed above,
        was also decided under Garibay. See Ritenour, 228 F.Supp.3d at n.4 (“Garibay is an
   20   unpublished decision and its reasoning has been called into question in light of
        published Ninth Circuit precedent in Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395
   21   (9th Cir. 2010).”); see also Mejia v. DHL Express (USA), Inc., 2015 WL 2452755, at
        *4 (C.D. Cal. May 21, 2015) (King, J.) (rejecting any reliance on Garibay).
               21
   22             See also Long v. Destination Maternity Corp., 2016 WL 1604968, *6 (S.D.
        Cal. Apr. 21, 2016) (“Defendant is not required to produce business records ‘setting
   23   forth the precise number of employees in [the] putative class ... and the precise
        calculation of damages alleged’ to meet its burden regarding the [AIC]”); Tajonar v.
   24   Echosphere, L.L.C., 2015 WL 4064642, at *3-5 (S.D. Cal. July 2, 2015) (accepting
        reasonable assumptions based on the complaint and generalized employment data and
   25   stating that a defendant “‘is not required to comb through its records to identify and
        calculate the exact frequency of violations’”).
   26          22
                  See also, e.g., Ritenour, 228 F.Supp.3d at 1031 (denying remand where
   27   plaintiffs never contended that they were putting less than $5 million at issue and did
        not offer any conflicting evidence challenging defendant’s estimates); Archuleta,
   28   2018 WL 6382049, at *5 (accepting 100% meal break violation rate where plaintiff
        did not offer “any better estimate of the alleged violation rate, despite the fact that he
        146084551.5                                14
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 25 of 62 Page ID #:257




    1 contrary evidence, she has failed to establish that Defendants’ assumed violation rate

    2 is unreasonable. See, e.g., Ritenour, 228 F.Supp.3d at 1031.

    3            Third, notwithstanding the foregoing, Defendants conservatively assumed that
    4 Plaintiff and other CSI PCMs will claim to have experienced just one meal break and

    5 one rest break on only two of every 10 days worked during the 4-Year SOL Period

    6 (i.e., a 20% violation rate).        Such an assumption in grounded in Plaintiff’s
    7 unqualified allegations—which allege that, “as a pattern and practice,” PCMs were

    8 “required” to “work during meal [and rest] periods” during the 4-Year SOL Period

    9 and “were entitled to receive all meal [and rest] periods,” but “did not receive all

   10 meal [and rest] periods during that time.”       Dkt. #1-1, ¶¶ 30, 31, 65, 74. These
   11 allegations, along with the fact that CSI PCMs averaged 8.13 hours per workday

   12 during the 4-Year SOL Period (entitling them to at least two rest breaks and one meal

   13 break per day on average), render Defendants’ 20% violation rate in their NOR more

   14 than reasonable. See Bolen Decl., ¶ 6(d); see also Vasquez, 2020 WL 6778772, at *8.

   15            For example, in Nunes v Home Depot U.S.A., Inc., 2019 WL 4316903, at *2
   16 (E.D. Cal. Sept. 12, 2019), the court found that allegations similar to Plaintiff’s here

   17 supported a 20% violation rate. The defendant submitted a declaration providing

   18 relevant data points discerned from its records. Id. It “then assumed each employee

   19 missed just one meal break and one rest break per week” based on allegations that the

   20 defendant (a) had a “uniform policy and practice” whereby it “often” failed to

   21 provide PCMs with all legally required meal breaks, causing them to forfeit meal

   22 breaks without compensation “from time-to-time,” and (b) had a “uniform policy,

   23 practice, and procedure” that resulted in PCMs “periodically” being denied such

   24 breaks. Id. (emph. added). Thus, the defendant’s assumed 20% violation rate was

   25 reasonable.      See id. at *2-3; see also Salazar v. PODS Enters., LLC, 2019 WL
   26 2023726, at *2-3 (C.D. Cal. May 8, 2019) (Fitzgerald, J.) (20% violation rate a

   27
      most likely knows at least roughly how often he was not afforded the required meal
   28 breaks”);  Lopez, 2015 WL 2342558, at *3 (denying remand where “Plaintiff [did] not
      assert or suggest an alternative violation rate on which the Court should rely[,]”).
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             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 26 of 62 Page ID #:258




    1 “reasonable, conservative assumption” based on allegation that PCMs “were

    2 ‘occasionally ... authorized’ to take their breaks”).

    3            Similarly, in Oda, the plaintiffs alleged that (1) they and the PCMs “sometimes
    4 did not receive all of their meal periods in a lawful fashion ... [and] not all rest

    5 periods were given timely, if at all to plaintiffs and other Class members”; and (2) the

    6 defendant “maintained a policy or practice of not paying additional compensation to

    7 employees for missed, uninterrupted [sic], and/or timely meal and/or rest periods.”

    8 Oda, 2015 WL 93335, at *4 (emph. added). The Oda defendant assumed that each

    9 class member experienced 2.5 meal period and rest period violations per 5-day work

   10 week, and the Court found the assumed 50% violation rate reasonable, even while

   11 the plaintiff alleged that the defendant only “sometimes” violated labor laws. Id. at

   12 *5; see also Elizarraz v. United Rentals, Inc., 2019 WL 1553664, at *3-4 (C.D. Cal.

   13 Apr. 9, 2019) (Wright, J.) (50% and 25% violation rates for meal and rest periods,

   14 respectively, were reasonable given allegations of a “pattern and practice”).

   15            Here, Defendants’ data establishes that CSI PCMs alone were entitled to at
   16 least one meal period and at least two rest breaks each workday during the 4-Year

   17 SOL Period. See Bolen Decl., ¶ 6(d)(ii). Indeed, given the Complaint’s allegations,

   18 Defendants “could assume a much higher violation rate.”23 See Vasquez, 2020 WL

   19 6778772, at *8 (citing cases); see also Olson v. Becton, Dickinson and Co., 2019 WL

   20 4673329, at *4 (S.D. Cal. Sept. 25, 2019) (25% violation rate for both meal and rest

   21 periods was reasonable based on allegations of a “pattern and practice”). Instead,

   22 they assume that CSI PCMs will claim to have experienced just one rest and one

   23 meal break violation per week.         See Vasquez, 2020 WL 6778772, at *8 (finding
   24 defendant’s assumed 20% violation rate reasonable based on identical allegations).24

   25
              Dkt. #1-1, ¶¶ 30-31 & at 24:2-5.
                 23
   26            24
               See also Terrell v. Samuel, Son & Co. (USA), Inc., 2020 WL 2797299, at *3-
   27 4 (May  29, 2020) (Bernal, J.) (20% violation rate reasonable where complaint alleged
      a “pattern and practice” of wage abuse and that some PCMs, “but not all,” were
   28 denied breaks); Danielsson v. Blood Centers of Pac., 2019 WL 7290476, at *6 (N.D.
      Cal. Dec. 30, 2019) (finding that a 20% violation rate for meal and rest breaks was
        146084551.5                                16
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 27 of 62 Page ID #:259




    1                 Thus, Defendants have established that the AIC on Plaintiff’s break claims
    2 for CSI PCMs only is at least $1,272,760.33 calculated as follows: $636,380.16

    3 [95,610 total workdays x 20% violation rate x $33.28 effective hourly rate] +

    4 $636,380.16 [95,610 total workdays x 20% violation rate x $33.28 effective hourly

    5 rate]. But this AIC only considers one subset of PCMs. When PCMs who worked

    6 directly for CGL are also included, even using a 5% violation rate to account for

    7 their average workday length (i.e., 6.56 hours), the AIC on Plaintiff’s break claims is

    8 at least $2,269,924.33, because they generate an additional AIC of $997,164

    9 calculated as follows: $498,582 [237,420 total workdays x 5% meal break violation

   10 rate x $42.00 effective hourly rate] + $498,582 [237,420 total workdays x 5% rest

   11 break violation rate x $42.00 effective hourly rate]. See Bolen Decl., ¶ 9(d)(ii), (iv).

   12            D.       THE WAITING TIME PENALTIES CLAIM AIC IS $2,758,312.65
   13            Plaintiff alleges that she and other PCMs “were entitled to receive all wages
   14 owed to them upon discharge or resignation, including overtime and minimum wages

   15 and meal and rest period premiums, and they did not, in fact, receive all such wages

   16 owed to them at the time of their discharge or resignation.” Dkt. #1-1, ¶ 33 (emph.

   17 added); see also id., ¶ 87 (alleging that Defendants failed to pay PCMs “who are no

   18 longer employed with Defendants’ [sic] their wages”).             She further alleges that
   19 “Defendants engaged in a pattern and practice of wage abuse against [PCMs]. This

   20 pattern and practice [allegedly] involved, inter alia, failing to pay them for all regular

   21 and/or overtime wages earned and for missed meal periods and rest breaks in

   22 violation of California law.” Id., ¶ 27 (emph. added); see also id., ¶ 42 (“During the

   23 relevant time period, Defendants failed to pay Plaintiff and the other class members

   24 all wages owed to them upon discharge or resignation.”).

   25            Plaintiff contends that the AIC on her waiting time penalties claim “improperly
   26

   27 reasonable where the complaint alleged a “pattern and practice” of violations);
      Mendoza v. Savage Servs. Corp., 2019 WL 1260629, at *2 (C.D. Cal. Mar. 19, 2019)
   28 (Klausner, J.) (noting that courts in the Central District “routinely apply a 20%
      violation rate ... for meal and rest period premiums” and citing cases).
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             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 28 of 62 Page ID #:260




    1 assume[s] maximum violations for all of the 199 CSI PCM[s] that ended their

    2 employment during [the 3-Year SOL Period].”         Mot. at 13:26-10. However, her
    3 Complaint alleges, without qualification, that, “as a pattern and practice,”

    4 Defendants “failed to pay [her] and the other [PCMs] all wages owed to them upon

    5 discharge or resignation.” See Dkt. #1-1, ¶¶ 27, 42; see also Vasquez, 2020 WL

    6 6778772, at *9 (finding identical complaint alleged wage violations “occurred

    7 universally”).     Moreover, Plaintiff purports to bring her claims on behalf of all
    8 PCMs, see id., ¶ 15, and does not allege that Defendants ever paid to her or any of the

    9 PCMs wages due but unpaid at the time of their discharge or resignation.25 See, e.g.,

   10 Vasquez, 2020 WL 6778772, at *9 (defendant reasonably assumed a maximum

   11 penalty for all terminated employees based on identical allegations).

   12            In Vasquez, 2020 WL 6778772, *9, the defendant – like Defendants here –
   13 calculated the AIC on the plaintiff’s waiting time penalties claim using the number of

   14 PCMs terminated during the limitations period, their average effective hourly rate,

   15 and an assumed 8-hour workday. The plaintiff, like Plaintiff here, challenged the

   16 defendant’s assumption that every PCM was entitled to 8 hours’ worth of penalties

   17 per day for 30 days. See id. This Court rejected that challenge, reasoning that the

   18 Vasquez complaint – like Plaintiff’s Complaint here – did “not contain any limitation

   19 on the Waiting Time Penalties Claim, such as an allegation that [plaintiff] or any

   20 other PCM later received allegedly unpaid final wages at some time less than 30 days

   21 after discharge.” Id. In the absence of any such allegation, and given the Vasquez

   22 complaint’s allegation regarding the defendant’s “pattern and practice” of wage

   23 violations – which is the same allegation Plaintiff makes here – the defendant

   24
                 25
   25          For this reason, Defendants’ 30-day assumption is also reasonable. See
      Torrez, 2017 WL 2713400, at *4; see also Moppin v; Marentes v. Key Energy Servs.
   26 Cal, Inc., 2015 WL 756516, at *5 (E.D. Cal. Feb. 23, 2015) (where “wages are
      alleged to have not been paid, the full thirty days may be used for each of the
   27 [PCMs]”); Altamirano v. Shaw Indus., Inc., 2013 WL 2950600, at *12 (N.D. Cal.
      June 14, 2013) (“[A]s there is nothing in the complaint [] to suggest that Defendants
   28 paid employees these unpaid wages at some point … awarding penalties for the entire
      30 day period is reasonable.”).
        146084551.5                             18
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 29 of 62 Page ID #:261




    1 “reasonably assume[d] a universal violation” and maximum penalties. Id. at *9-10.

    2            While Plaintiff inexplicably argues that Defendants have failed to submit
    3 evidence to support their assumption that “each” PCM is entitled to the maximum

    4 penalty, Mot. at 1:13-14, Defendants are “not required to prove Plaintiff’s case for

    5 [him] by proving the actual rates of violation at the removal stage.” Lucas, 2018 WL

    6 2146403, at *7. Because the Complaint is devoid of any allegations establishing that

    7 the Plaintiff and/or the PCMs were ever paid their full final wages, a maximum

    8 waiting time penalties calculation is appropriate.       Id. at *9-10 (holding it was
    9 reasonable to assume maximum waiting time penalties given allegations that, inter

   10 alia, “Defendants had a practice of not paying upon termination, the wages owed”);

   11 see also Muniz, 2007 WL 1302504, at *4 (“As these allegations reveal, plaintiff

   12 includes no fact-specific allegations that would result in a putative class or violation

   13 rate that is discernibly smaller than 100%, used by defendant in its calculations.”).

   14            Plaintiff’s reliance on Garibay, 539 F. App’x 763, is misplaced. That case
   15 preceded the Ninth Circuit’s and the Supreme Court’s binding decisions in both Arias

   16 and Dart, respectively, and “is no longer applicable to CAFA cases.” Rahmatullah

   17 v. Charter Commc’ns, LLC, 2020 WL 4014746, at *5 (C.D. Cal. July 15, 2020)

   18 (Gutierrez, J.) (emph. added).26     In any event, in Garibay, the court rejected an
   19 assumption “that each employee would be entitled to the maximum statutory penalty”

   20 where defendant provided “no evidence supporting that assertion.” Garibay, 539 F.

   21 App’x at 764. Here, the Complaint’s allegations support Defendants’ assumed

   22 violation rate, and Plaintiff has not submitted any argument or evidence actually

   23 disputing this calculation, nor does she offer any alternative calculation. See Garza v.

   24 Brinderson Constructors, Inc., 178 F.Supp.3d 906, 912 (N.D. Cal. 2016)

   25 (distinguishing Garibay and holding that defendant need not produce evidence when

   26            26
               Plaintiff also inexplicably relies on Lowdermilk v. U.S. Bank Nat’l Ass’n,
   27 479 F.3d  994 (9th Cir. 2007). But Lowdermilk’s “legal certainty” test was long ago
      overruled. See Rodriguez v. AT & T Mobility Servs. LLC, 728 F.3d 975, 981 (9th
   28 Cir. 2013); see also Ritenour, 228 F.Supp.3d at 1030, n.4 (“Lowdermilk was
      overruled for applying the wrong standard of ‘legal certainty.’”).
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             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 30 of 62 Page ID #:262




    1 allegations in the complaint support the maximum statutory penalty).27

    2            Here, CSI PCMs worked an average of 8.15 hours per day during the four-year
    3 period limitations period. Bolen Decl., ¶ 6(c)(ii). As such, it is reasonable to assume

    4 – based on the Complaint’s allegations that, “[a]s a pattern and practice of wage

    5 abuse,” PCMs were not paid not paid for “all overtime hours worked,” did not

    6 receive “all required meal and rest periods,” and “were not receiving at least

    7 minimum wage for all hours worked” (Dkt. #1-1, ¶¶ 27-32) – that each PCM went

    8 unpaid or was underpaid in some amount at least once during the 3-Year SOL Period,

    9 and a single incident of underpayment to each PCM is sufficient to trigger Cal. Lab.

   10 Code § 203 for the entire 30-day period penalties for all PCMs.                See, e.g.,
   11 Altamirano, 2013 WL 2950600, at *12 (reasonable to assume all terminated

   12 employees suffered at least one incident of underpayment); Ramos v. Schenker, Inc.,

   13 2018 WL 5779978, at *2 (C.D. Cal. Nov. 1, 2018) (Staton, J.) (“allegations of unpaid

   14 wages are implicit allegations of maximum damages for waiting time penalties”).28

   15            In their NOR, Defendants calculated the AIC on this claim exclusively based
   16 on the number of CSI PCMs who separated their employment in the relevant 3-Year

   17 SOL Period and their average hourly rate of pay during the same using data points

   18 supported by declaration evidence. See Dkt. #1, ¶¶ 54-55; Bolen Decl., ¶ 6(c). While

   19 these PCMs worked an average of 8.15 hours per day during that period, Defendants

   20 conservatively calculated the AIC using a shorter 8-hour workday, showing the AIC

   21 on this claim to be at least $1,624,795.20 [199 separated PCMs x $34.02 average

   22 hourly rate x 8 hours per day x 30 days]. See Dkt. #1, ¶ 55. But Defendants only

   23
                 27
                      See also Mejia, 2015 WL 2452755, at *4 (“The only Ninth Circuit case that
   24 arguably stands for the proposition that there is a bright-line rule forbidding a
        removing defendant from assuming a 100% violation rate is Garibay.... As it is
   25 unpublished, Garibay has no precedential weight.... Moreover, to the extent that
        Garibay demands that removing defendants submit evidence of their liability—i.e.,
   26 evidence of a violation rate—to establish jurisdiction, it is inconsistent with Lewis.”).
                 28
   27         See also, e.g., Mariscal v. Arizona Tile, LLC, 2021 WL 1400892, at *3 (C.D.
      Cal. Apr. 15, 2021) (Staton, J.) (holding that it was appropriate to assume each
   28 terminated PCM “was owed but not paid at least some of their wages at termination
      and accrued 30 days of waiting time penalties based on those unpaid wages”).
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             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 31 of 62 Page ID #:263




    1 considered only one subset of PCMs. During the relevant period preceding the filing

    2 of Plaintiff’s Complaint, at least 137 CGL PCMs also separated their employment,

    3 and they were paid an average final effective hourly rate of $42.43/hour.            Bolen
    4 Decl., ¶ 9(c)(i), (iii).     Taking into account these PCMs, and utilizing the same
    5 reasonable assumptions and the actual average workday for CGL PCMs during the 3-

    6 Year SOL Period, the additional AIC on this claim is at least $1,133,517.45 [137

    7 separated PCMs x $42.43 average hourly rate x 6.50 hours per day x 30 days]. Thus,

    8 the AIC on Plaintiff’s waiting time penalties claim is at least $2,758,312.65.

    9            E.    THE WAGE STATEMENT PENALTY CLAIM AIC IS $1,076,400
   10            In their NOR, Defendants calculated an AIC for wage statement penalties
   11 based on the applicable one-year limitations period and on the total number of wage

   12 statements actually issued to CSI PCMs only in that same period—both of which are

   13 supported by adequate declaration evidence. See Dkt. #1, ¶ 59; Bolen Decl., ¶ 6(b).

   14 Still, Plaintiff challenges the 100% violation rate on this claim and in so doing

   15 completely disregards her Complaint’s allegations and persuasive authority.

   16            Plaintiff alleges without qualification that, “[d]uring the relevant time period,
   17 Defendants failed to provide complete and accurate wage statements to Plaintiff and

   18 [PCMs].” Dkt. #1-1, ¶ 44. She further alleges that she and other PCMs “did not

   19 receive complete and accurate wage statements from Defendants” because the wages

   20 statements allegedly did not “include the total number of hours worked by Plaintiff

   21 and [PCMs].” Id., ¶ 35; see also ¶ 98 (“Defendants have intentionally and willfully

   22 failed to provide Plaintiff and other [PCMs] with complete and accurate wage

   23 statements.”). Thus, she alleges that wage statements issued to her and other PCMs

   24 failed to reflect amounts that she contends should have been paid to PCMs—which

   25 underpayments were the result of “a pattern and practice of wage abuse.” Id., ¶ 27;

   26 see also ¶ 99 (alleging all PCMs “have suffered injury”). As with her other purported

   27 claims, the Complaint alleges no facts specific to the circumstances of Defendants’

   28 alleged failure to provide itemized wage statements, or to suggest that a violation rate

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             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 32 of 62 Page ID #:264




    1 less than 100% is appropriate. See Mot. at 15:16-23.

    2            In Vasquez, for example, the plaintiff – just like Plaintiff here – alleged that the
    3 defendant violated Cal. Lab. Code § 226 (“Section 226”) in every pay period and that

    4 he and the other PCMs were “‘entitled to recover from Defendants the greater of their

    5 actual damages caused by [the defendant’s] failure to comply’ with § 226 ‘or an

    6 aggregate penalty not exceeding four thousand dollars per employee.’”                Vasquez,
    7 2020 WL 6778772, at *12 & nn. 107-08.29 The defendant, like Defendants here,

    8 assumed a 100% violation rate. See id. at *12. This Court found that calculation –

    9 which was the same calculation used by Defendants here and based on similar

   10 declaration evidence30 – “to be reasonable” based upon the allegations of the

   11 identical       Vasquez complaint and “supported by sufficient (uncontroverted)
   12 evidence.”        Id. at *13.   Moreover, just like here, the Vasquez plaintiff did not
   13 challenge either the defendant’s calculation or its underlying methodology. Id.

   14            Likewise, other courts that have addressed this issue have routinely accepted
   15 use of a 100% violation rate based on allegations similar to Plaintiff’s here.31

   16 Further, and in any event, Plaintiff once again fails to suggest an alternative violation

   17 rate that she contends would be more reasonable.                See, e.g., Lopez, 2015 WL
   18 2342558, at *3 (finding 100% violation rate assumption reasonable where plaintiff

   19 failed to suggest “an alternative violation rate on which the court could rely”).

   20            29
                  In Vasquez, this Court referred to allegations in Paragraphs 97 and 100 of the
   21   plaintiff’s complaint, which are paragraphs 98 and 101 in Plaintiff’s Complaint.
        Compare Dkt. #1-1, ¶¶ 98, 101 with RJN, Exh A, ¶¶ 97, 100.
               30
   22             See Vasquez, 2020 WL 6778772, at *3 (defendant submitted a declaration
        that “provide[d] a summary of the underlying data and calculations derived from [its]
   23   business records”).
               31
   24             See, e.g., Archuleta, 2018 WL 6382049 at *6 (“it is reasonable to assume a
        100 percent violation rate given the myriad allegations about widespread [unpaid
   25   wages] and meal period violations”); Ramirez v. Carefusion Resources, LLC, 2019
        WL 2897902 (S.D. Cal. July 5, 2019) (same); Nunes, 2019 WL 431690, at *3 (100%
   26   violation rate reasonable where plaintiff alleged that defendant failed to provide
        accurate wage statements “from time to time”); Salcido v. Evolution Fresh, Inc., 2016
   27   WL 79381, *7 (C.D. Cal. Jan. 6, 2016) (Wilson, J.) (assumption that each and every
        wage statement was deficient and subject to penalty was reasonable and “follow[s]
   28   logically” from allegations that defendant failed to accurately itemize all hours
        worked and engaged in “systemic scheme of wage abuse”).
        146084551.5                                  22
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 33 of 62 Page ID #:265




    1 Therefore, Defendants have established, based on their own data derived from their

    2 actual business records and on reasonable assumptions derived from Plaintiff’s own

    3 allegations, that the NOR’s AIC calculation on Plaintiff’s waiting time penalties

    4 claim is properly supported. See Dkt. #1, ¶ 60 (CSI-only AIC).

    5            Further, Defendants’ calculation in the NOR was actually underestimated, and
    6 once data for PCMs who worked directly for CGL is also taken into account (using

    7 the one-year limitations period and the total number of wage statements actually

    8 issued to PCMs employed directly by CGL during that period), the AIC on this claim

    9 increases by at least $906,600, calculated as follows: [(422 PCMs x $50 initial

   10 violation = $21,100) + (8,855 Subsequent Wage Statements [9,277-422] x $100

   11 subsequent violation = $885,500)]. See Dkt. #1, n.28. Thus, the AIC on Plaintiff’s

   12 wage statement penalty claim is not less than $1,076,400 [$169,800 CSI AIC +

   13 $906,600 CGL AIC], which averages only $2,014.60 per PCM.

   14            F.    THE RECORDKEEPING PENALTIES CLAIM AIC IS $267,000
   15            In passing, Plaintiff suggests that Defendants’ AIC on her recordkeeping
   16 penalties claim is “unsubstantiated,” but she does not proffer any argument or

   17 authority even tending to support such a statement. Mot. at 15:12-14. In any event,

   18 Defendants’ AIC on her recordkeeping claim is sufficiently established for the same

   19 reasons that the AIC on her Section 226 claim is sufficiently established.       “Any
   20 person employing labor who willfully fails to maintain the records required by [Cal.

   21 Lab. Code § 1174(c)] or accurate and complete records required by [Lab. Code §

   22 1174(d)], ... shall be subject to a civil penalty of five hundred dollars ($500).” Lab.

   23 Code § 1174.5. As set forth in the NOR, Defendants conservatively calculated the

   24 AIC on Plaintiff’s recordkeeping penalties, using the ostensibly applicable 1-Year

   25 SOL Period for CSI employees only, to be $56,000 ($500 x 112 PCMs).          See Bolen
   26 Decl., ¶ 6(b)(i). CGL employees add an additional $211,000 ($500 x 422 PCMs) for

   27 a total AIC of $267,000. See id., ¶ 9(b)(i).

   28

        146084551.5                               23
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 34 of 62 Page ID #:266




    1            G.      PLAINTIFF DOES NOT CHALLENGE THE ATTORNEYS’ FEES AIC
    2            Plaintiff does not dispute the reasonableness of Defendants’ AIC calculations
    3 on her requests for attorneys’ fees—and, in fact, does not proffer any argument as to

    4 that AIC at all. Thus, she has waived any argument that Defendants’ method for

    5 calculating the AIC on either her Section 1174 claim or her attorneys’ fees requests is

    6 improper or unsupported.32

    7            In any event, the Ninth Circuit has held that attorneys’ fees must be included
    8 when assessing the AIC. See Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 417-

    9 18 (9th Cir. 2018). Further, “a court must include future attorneys’ fees recoverable

   10 by statute or contract when assessing whether the [AIC] requirement is met.” Fritsch

   11 v. Swift Transp. Co. of Ariz., LLC, 899 F.3d 785, 793-94 (9th Cir. 2018). Because

   12 Plaintiff seeks attorneys’ fees on her unpaid wages, meal break, and unreimbursed

   13 expenses claims and under Cal. Civ. Proc. Code § 1021.5, attorneys’ fees must be

   14 included when assessing the AIC. Dkt. #1-1, Prayer for Relief, ¶¶ 8, 15, 27, 51, 56.

   15            Thus, Defendants “properly included attorneys’ fees, and used the established
   16 25% benchmark in doing so.” Nunes, 2019 WL 4316903, at *4; see also Vasquez,

   17 2020 WL 6778772, at *10 (“[T]he Court finds that the 25% rate that [defendant]

   18 utilizes is reasonable. Indeed, the Ninth Circuit has consistently affirmed that the

   19 25% rate is reasonable.”).33 Further, because Defendants’ calculations regarding the

   20 putative class recovery on Plaintiff’s claims are adequately supported, so too are their

   21 calculations regarding the AIC on her attorneys’ fees claim.         See, e.g., Ramos v.
   22
                 32
                      See United States v. Gianelli, 543 F.3d 1178, 1184 n.6 (9th Cir. 2008)
   23 (“[A]rguments raised for the first time in a reply brief are generally considered
        waived.”); Bazuaye v. INS, 79 F.3d 118, 120 (9th Cir.1996) (“Issues raised for the
   24 first time in the reply brief are waived.”); Eberle v. City of Anaheim, 901 F.2d 814,
      818 (9th Cir. 1990) (same).
   25        33
                The Ninth Circuit employs a benchmark rate of 25% of the entire potential
   26 award   as an estimate for attorneys’ fees. See Hanlon v. Chrysler Corp., 150 F.3d
      1011, 1029 (9th Cir. 1998). This is especially true where, as here, Plaintiff seeks
   27 attorneys’ fees pursuant to Civ. Proc. Code § 1021.5. See, e.g., Perez v. Safety-Kleen
      Sys., Inc., 448 F. App’x 707, 708 (9th Cir. 2011) (affirming the district court’s grant
   28 of attorneys’ fees under Civ. Proc. Code § 1021.5 in a class action based on, inter
      alia, an employer’s failure to provide meal and rest periods).
        146084551.5                                24
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 35 of 62 Page ID #:267




    1 MOOG Inc., 2020 WL 969023, at *4 (C.D. Cal. Feb. 27, 2020) (Birotte, J.) (where

    2 underlying AIC amounts were established, an attorneys’ fees rate that bridged the gap

    3 between the AIC and $5 million was “clearly reasonable”).

    4            In any event, Defendants have established that the AIC on Plaintiff’s claims
    5 exceeds $8,773,443.22 [$2,401,806.24 (wage claims) + $2,269,924.33 (break claims)

    6 + $2,758,312.65 (waiting time penalties claim) + $1,076,400 (wage statement claim)

    7 + $267,000 (Section 1174 claim)]—even without considering the AIC on (a) her

    8 claim for attorneys’ fees, which, using the 25% benchmark, is at least $2,193,360.81

    9 [$8,773,443.22 x .25], or (b) her purported claims for unreimbursed business

   10 expenses and failure to timely pay wages during employment, which are all

   11 otherwise properly included therein and would only further increase the AIC.34

   12 VI.        CONCLUSION
   13            For all of the foregoing reasons, Defendants respectfully request that Plaintiff’s
   14 Motion to Remand be denied because the $5 million AIC is satisfied here.

   15

   16 Dated: June 11, 2021                        MCGUIREWOODS LLP
   17
                                                  By: /s/ Amy E. Beverlin
                                                      Sabrina A. Beldner | Sylvia J. Kim
   18                                                 Amy E. Beverlin
                                                      Attorneys for Defendants
   19

   20

   21

   22

   23
                 34
   24             Indeed, in the related Hines case – which was filed just last year and of
        which Plaintiffs were aware before filing this Motion – the court found that based
   25   solely on data from the same two defendants (CSI and CGL), it was established by a
        preponderance of the evidence that the AIC on the plaintiff’s nearly identical claims
   26   for an overlapping class of PCMs was at least $8,623,035.26. Hines, 2020 WL
        5764400, at *3 (finding defendants submitted sufficient declaration evidence, which
   27   also increased the estimated AIC in that notice of removal by including PCMs who
        worked for CGL); see also Dkt. #13-2, Exh. C (Declaration of John Bolen submitted
   28   by defendants in Hines). Plaintiff’s decision to proceed with this Motion in light of
        that information renders this Motion not only without merit—but also frivolous.
        146084551.5                                 25
             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER REMANDING ACTION
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 36 of 62 Page ID #:268
                                                                                                        Exhibit A
            Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 1 of 27 Page ID #:31
                 ctronically Filed by Superior Court of California, County of Orange, 07/07/2020 03:13:47 PM.
    30-2020-0114 088-CU-OE-CXC - ROA # 2- DAVID H. YAMASAKI, Clerk of the Court By Sarah Loose, Deputy Clerk.



              1 Edwin Aiwazian (SBN 232943)
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              3 Tel: (818) 265-1020 / Fax: (818) 265-1021

              4 I Attorneys for Plaintiff

              5

              6

              7

                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                 FOR THE COUNTY OF ORANGE
             10 FELIPE VASQUEZ, individually, and on           CaseNo.: 30-2020-01147088-CU-OE-tXC
                behalf of other members of the general public Assigned for all purposes to:.ludge Peter WIlson Dept :   Cxlo2
             11 similarly situated;                            CLASS ACTION COMPLAINT FOR
                                                               DAMAGES
             12                 Plaintiff,
                                                               (1) Violation of California Labor Code
             13         vs.                                         §§ 510 and 1198 (Unpaid
                                                                    Overtime);
             14 RSI HOME PRODUCTS, INC., an unknown            (2) Violation of California Labor Code
                business entity; RSI HOME PRODUCTS                  §§ 226.7 and 512(a) (Unpaid Meal
             15 MANUFACTURING, INC., an unknown                     Period Premiums);
                business entity; and DOES 1 through 100,       (3) Violation of California Labor Code
             16 inclusive,                                          § 226.7 (Unpaid Rest Period
                                                                    Premiums);
             17                 Defendants.                    (4) Violation of California Labor Code
                                                                    §§ 1194, 1197, and 1197.1 (Unpaid
             18                                                     Minimum Wages);
                                                               (5) Violation of California Labor Code
             19                                                     §§ 201 and 202 (Final Wages Not
                                                                    Timely Paid);
             20                                                (6) Violation of California Labor Code
                                                                    § 204 (Wages Not Timely Paid
             21                                                     During Employment);
                                                               (7) Violation of California Labor Code
             22                                                     § 226(a) (Non-Compliant Wage
                                                                    Statements);
             23                                                (8) Violation of California Labor Code
                                                                    § 1174(d) (Failure To Keep
             24                                                     Requisite Payroll Records);
                                                               (9) Violation of California Labor Code
             25                                                     §§ 2800 and 2802 (Unreimbursed
                                                                    Business Expenses);
             26                                                (10) Violation of California Business &
                                                                    Professions Code §§ 17200, et seq.
             27
                                                                DEMAND FOR JURY TRIAL
             28



                                            CLASs ACTION COMPLAINT AND DEMAND FOR 7URY TRIAL




                                                                                                        Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 37 of 62 Page ID #:269
                                                                                                        Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 2 of 27 Page ID #:32



           1             COMES NOW, Plaintiff FELIPE VASQUEZ ("Plaintiff '), individually, and on behalf

           2     of other members of the general public similarly situated, and alleges as follows:

           3                                      JURISDICTION AND VENUE
           4             1.      This class action is brought pursuant to the California Code of Civil Procedure

           5     section 382. The monetary damages and restitution sought by Plaintiff exceeds the minimal

           6     jurisdiction limits of the Superior Court and will be established according to proof at trial. The

           7     "amount in controversy" for the named Plaintiff, including but not limited to claims for

           8     compensatory damages, restitution, penalties, wages, premium pay, and pro rata share of

           9     attorneys' fees, is less than seventy-five thousand dollars ($75,000).

          10             2.      This Court has jurisdiction over this action pursuant to the California

                 I Constitution, Article VI, Section 10, which grants the superior court "original jurisdiction in all

                 other causes" except those given by statute to other courts. The statutes under which this

                 action is brought do not specify any other basis for jurisdiction.

                         3.      This Court has jurisdiction over Defendants because, upon information and

                 belief, Defendants are citizens of California, have sufficient minimum contacts in California,

                 or otherwise intentionally avail themselves of the California market so as to render the exercise

                 of jurisdiction over them by California courts consistent with traditional notions of fair play

          18 and substantial justice.
          19             4.      Venue is proper in this Court because, upon information and belief, Defendants

          20 maintain offices, have agents, employ individuals, and/or transact business in the State of
          21     California, County of Orange. The majority of acts and omissions alleged herein relating to

          22 Plaintiff and the other class members took place in the State of California, including the County
          23 of Orange.
          24                                                  PARTIES
          25 ,           5.      Plaintiff FELIPE VASQUEZ is an individual residing in the State of California,

          26' I County of Orange.
          27
          28

                                                                   2
                                   CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




                                                                                                        Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 38 of 62 Page ID #:270
                                                                                                  Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 3 of 27 Page ID #:33



           1          6.      Defendant RSI HOME PRODUCTS, INC., at all times herein mentioned, was

           2   and is, upon information and belief, an employer whose employees are engaged throughout the

           3   State of California, including the County of Orange.

           4          7.      Defendant RSI HOME PRODUCTS MANUFACTURING, INC., at all times

           5   herein mentioned, was and is, upon information and belief, an employer whose employees are

           6   engaged throughout the State of California, including the County of Orange.

           7          8.      At all relevant times, Defendant RSI HOME PRODUCTS, INC. and Defendant

           8   RSI HOME PRODUCTS MANUFACTURING, INC. were the "employer" of Plaintiff within

           9   the meaning of all applicable California laws and statutes.

          10          9.      At all times herein relevant, Defendants RSI HOME PRODUCTS, INC., RSI

          11   HOME PRODUCTS MANUFACTURING, INC., and DOES 1 through 100, and each of them,

          12 were the agents, partners, joint venturers, joint employers, representatives, servants,

          13 employees, successors-in-interest, co-conspirators and/or assigns, each of the other, and at all

          14 times relevant hereto were acting within the course and scope of their authority as such agents,

          15 partners, joint venturers, joint employers, representatives, servants, employees, successors, co-

          16 conspirators and/or assigns, and all acts or omissions alleged herein were duly committed with

          17 the ratification, knowledge, permission, encouragement, authorization and/or consent of each

          18 defendant designated as a DOE herein.

          19          10.    The true names and capacities, whether corporate, associate, individual or

          20 otherwise, of defendants DOES 1 through 100, inclusive, are unknown to Plaintiff who sue

          21   said defendants by such fictitious names. Plaintiff is informed and believes, and based on that

          22 information and belief alleges, that each of the defendants designated as a DOE is legally

          23 responsible for the events and happenings referred to in this Complaint, and unlawfully caused
          24 the injuries and damages to Plaintiff and the other class members as alleged in this Complaint.
          25 Plaintiff will seek leave of court to amend this Complaint to show the true names and
          26 capacities when the same have been ascertained.

          27
          28


                                                              3
                                CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                  Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 39 of 62 Page ID #:271
                                                                                                        Exhibit A
           Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 4 of 27 Page ID #:34



            1           11. Defendant RSI HOME PRODUCTS, INC., RSI HOME PRODUCTS

            2    MANUFACTURING, INC., and DOES 1 through 100 will hereinafter collectively be referred

            3    to as "Defendants."

            4           12.     Plaintiff further alleges that Defendants directly or indirectly controlled or

            5    affected the working conditions, wages, working hours, and conditions of employment of

            6    Plaintiff and the other class members so as to make each of said Defendants employers liable

            7 I under the statutory provisions set forth herein.

             :                                   CLASS ACTION ALLEGATIONS

            9           13.     Plaintiff bring this action on his own behalf and on behalf of all other members

           10 of the general public similarly situated, and, thus, seeks class certification under California

  u        11    Code of Civil Procedure section 382.
  ao
           12           14.     The proposed class is defined as follows:
   U"~_
   ~ ~ N

           13                   All current and former hourly-paid or non-exempt employees who worked for
       a
           14                   any of the Defendants within the State of California at any time during the
      VU
  a ~ °'
      ~    15                   period from four years preceding the filing of this Complaint to final judgment
   W 7
  30       16                   and who reside in California.

  a        17           15.     Plaintiff reserves the right to establish subclasses as appropriate.

           18I          16.     The class is ascertainable and there is a well-defined community of interest in

           19 the litigation:
           20                   a.       Numerosity: The class members are so numerous that joinder of all class

           21                             members is impracticable. The membership of the entire class is

           22                             unknown to Plaintiff at this time; however, the class is estimated to be

           23                             greater than fifty (50) individuals and the identity of such membership is

           24                             readily ascertainable by inspection of Defendants' employment records.

           25                   b.       Typicality: Plaintiff's claims are typical of all other class members' as

           26                             demonstrated herein. Plaintiff will fairly and adequately protect the

           27                             interests of the other class members with whom he has a well-defined

           28                            community of interest.


                                                                   4
                                     CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                        Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 40 of 62 Page ID #:272
                                                                                                       Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 5 of 27 Page ID #:35




           1                 C.       Adequacy: Plaintiff will fairly and adequately protect the interests of

           2                           each class member, with whom he has a well-defined community of

           3                           interest and typicality of claims, as demonstrated herein. Plaintiff has no

           4                           interest that is antagonistic to the other class members. Plaintiff's

           5                          attorneys, the proposed class counsel, are versed in the rules governing

           6                          class action discovery, certification, and settlement. Plaintiff has

           7                           incurred, and during the pendency of this action will continue to incur,

           8                          costs and attorneys' fees, that have been, are, and will be necessarily

           9                           expended for the prosecution of this action for the substantial benefit of

          10                           each class member.

          11                 d.       Superiority: A class action is superior to other available methods for the

          12                           fair and efficient adjudication of this litigation because individual joinder

          13                          of all class members is impractical.

          14                 e.       Public Policy Considerations: Certification of this lawsuit as a class

          15                          action will advance public policy objectives. Employers of this great

          16                          state violate employment and labor laws every day. Current employees

          17                          are often afraid to assert their rights out of fear of direct or indirect

          18                          retaliation. However, class actions provide the class members who are

          19                          not named in the complaint anonymity that allows for the vindication of

          20                          their rights.

          21          17.    There are common questions of law and fact as to the class members that

          22 predominate over questions affecting only individual members. The following common

          23 questions of law or fact, among others, exist as to the members of the class:
          24                 a.       Whether Defendants' failure to pay wages, without abatement or

          25                          reduction, in accordance with the California Labor Code, was willful;

          26                 b.       Whether Defendants' had a corporate policy and practice of failing to

          27                          pay their hourly-paid or non-exempt employees within the State of

          28                          California for all hours worked and missed (short, late, interrupted,


                                                                 5
                                  CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                       Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 41 of 62 Page ID #:273
                                                                                                Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 6 of 27 Page ID #:36




           1                      and/or missed altogether) meal periods and rest breaks in violation of

           2                      California law;

           3             C.       Whether Defendants required Plaintiff and the other class members to

           4                      work over eight (8) hours per day and/or over forty (40) hours per week

           5                      and failed to pay the legally required overtime compensation to Plaintiff

           6                      and the other class members;

           7             d.       Whether Defendants deprived Plaintiff and the other class members of

           8                      meal and/or rest periods or required Plaintiff and the other class

           9                      members to work during meal and/or rest periods without compensation;

          10             e.       Whether Defendants failed to pay minimum wages to Plaintiff and the

          11                      other class members for all hours worked;

          12             f.       Whether Defendants failed to pay all wages due to Plaintiff and the other

          13                      class members within the required time upon their discharge or

          14                      resignation;

          15             g.       Whether Defendants failed to timely pay all wages due to Plaintiff and

          16                      the other class members during their employment;

          17             h.       Whether Defendants complied with wage reporting as required by the

          18                      California Labor Code; including, inter alia, section 226;

          19             i.       Whether Defendants kept complete and accurate payroll records as

          20                      required by the California Labor Code, including, inter alia, section

          21                      1174(d);

          22             j.       Whether Defendants failed to reimburse Plaintiff and the other class

          23                      members for necessary business-related expenses and costs;

          24             k.       Whether Defendants' conduct was willful or reckless;

          25             1.       Whether Defendants engaged in unfair business practices in violation of

          26                      California Business & Professions Code section 17200, et seq.;

          27             M.       The appropriate amount of damages, restitution, and/or monetary

          28                      penalties resulting from Defendants' violation of California law; and


                                                           6
                              CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 42 of 62 Page ID #:274
                                                                                                   Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 7 of 27 Page ID #:37



           1                 n.        Whether Plaintiff and the other class members are entitled to

           2                           compensatory damages pursuant to the California Labor Code.

           3                                     GENERAL ALLEGATIONS
           4          18.    At all relevant times set forth herein, Defendants employed Plaintiff and other

           5   persons as hourly-paid or non-exempt employees within the State of California, including the

           6   County of Orange.

           7          19.    Defendants, jointly and severally, employed Plaintiff as an hourly-paid, non-

           8   exempt employee, from approximately October 2015 to approximately May 2017, in the State

           9   of California, County of Orange.

          10          20.    Defendants hired Plaintiff and the other class members, classified them as

          11   hourly-paid or non-exempt employees, and failed to compensate them for all hours worked and

          12 missed meal periods and/or rest breaks.

          13          21.    Defendants had the authority to hire and terminate Plaintiff and the other class

          14 members, to set work rules and conditions governing Plaintiff's and the other class members'

          15 employment, and to supervise their daily employment activities.

          16          22.    Defendants exercised sufficient authority over the terms and conditions of

          17 Plaintiff's and the other class members' employment for them to be joint employers of Plaintiff

          18 and the other class members.

          19          23.    Defendants directly hired and paid wages and benefits to Plaintiff and the other

          20 class members.

          21          24.    Defendants continue to employ hourly-paid or non-exempt employees within the

          22 State of California.

          23          25.    Plaintiff and the other class members worked over eight (8) hours in a day,

          24 and/or forty (40) hours in a week during their employment with Defendants.
          25          26.    Plaintiff is informed and believes, and based thereon alleges, that Defendants

          26 engaged in a pattern and practice of wage abuse against their hourly-paid or non-exempt

          27 employees within the State of California. This pattern and practice involved, inter alia, failing
          28


                                                                7
                                  CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                   Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 43 of 62 Page ID #:275
                                                                                                  Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 8 of 27 Page ID #:38




               to pay them for all regular and/or overtime wages earned and for missed meal periods and rest

           11  breaks in violation of California law.

           3          27.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

           4   knew or should have known that Plaintiff and the other class members were entitled to receive

           5   certain wages for overtime compensation and that they were not receiving accurate overtime

           6   compensation for all overtime hours worked.

           7          28.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

           8, failed to provide Plaintiff and the other class members all required rest and meal periods during

           9   the relevant time period as required under the Industrial Welfare Commission Wage Orders

          10 and thus they are entitled to any and all applicable penalties.

          11          29.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

          12 knew or should have known that Plaintiff and the other class members were entitled to receive

          13 all meal periods or payment of one additional hour of pay at Plaintiff's and the other class

          14 member's regular rate of pay when a meal period was missed, and they did not receive all meal

          15 periods or payment of one additional hour of pay at Plaintiff's and the other class member's

          16 regular rate of pay when a meal period was missed.

          17          30.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

          18 knew or should have known that Plaintiff and the other class members were entitled to receive

          19 all rest periods or payment of one additional hour of pay at Plaintiff's and the other class

          20 member's regular rate of pay when a rest period was missed, and they did not receive all rest

          21   periods or payment of one additional hour of pay at Plaintiff's and the other class members'

          22 regular rate of pay when a rest period was missed.

          23          31.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

          24 knew or should have known that Plaintiff and the other class members were entitled to receive
          25 at least minimum wages for compensation and that they were not receiving at least minimum
          26 wages for all hours worked.
          27          32.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

          28 knew or should have known that Plaintiff and the other class members were entitled to receive


                                                              s
                                CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




                                                                                                  Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 44 of 62 Page ID #:276
                                                                                                     Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 9 of 27 Page ID #:39



            1    all wages owed to them upon discharge or resignation, including overtime and minimum wages

            2    and meal and rest period premiums, and they did not, in fact, receive all such wages owed to

            3    them at the time of their discharge or resignation.

            4'          33.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

            5 1 I knew or should have known that Plaintiff and the other class members were entitled to receive
            6    all wages owed to them during their employment. Plaintiff and the other class members did

            7    not receive payment of all wages, including overtime and minimum wages and meal and rest

            8    period premiums, within any time permissible under California Labor Code section 204.

            9           34.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

           10 I knew or should have known that Plaintiff and the other class members were entitled to receive
                 complete and accurate wage statements in accordance with California law, but, in fact, they did

                 not receive complete and accurate wage statements from Defendants. The deficiencies

                 included, inter alia, the failure to include the total number of hours worked by Plaintiff and the

                 other class members.

                        35.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

                 knew or should have known that Defendants had to keep complete and accurate payroll records

   a       17 for Plaintiff and the other class members in accordance with California law, but, in fact, did
           18 not keep complete and accurate payroll records.
           19           36.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

          20 knew or should have known that Plaintiff and the other class members were entitled to
          21     reimbursement for necessary business-related expenses.

          22            37.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

          23 I knew or should have known that they had a duty to compensate Plaintiff and the other class
          24 members pursuant to California law, and that Defendants had the financial ability to pay such
          25 compensation, but willfully, knowingly, and intentionally failed to do so, and falsely
          26 represented to Plaintiff and the other class members that they were properly denied wages, all
          27 in order to increase Defendants' profits.
          28 I ///

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                                  CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                     Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 45 of 62 Page ID #:277
                                                                                                          Exhibit A
                 Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 10 of 27 Page ID #:40



                   1          38.     During the relevant time period, Defendants failed to pay overtime wages to
                   2   Plaintiff and the other class members for all overtime hours worked. Plaintiff and the other
                   3   class members were required to work more than eight (8) hours per day and/or forty (40) hours
                   4   per week without overtime compensation for all overtime hours worked.
                   5          39.     During the relevant time period, Defendants failed to provide all requisite
                   6   uninterrupted meal and rest periods to Plaintiff and the other class members.
                   7          40.     During the relevant time period, Defendants failed to pay Plaintiff and the other
                   8   class members at least minimum wages for all hours worked.

                   9          41.     During the relevant time period, Defendants failed to pay Plaintiff and the other
                  10 class members all wages owed to them upon discharge or resignation.

   U              11          42.     During the relevant time period, Defendants failed to pay Plaintiff and the other
   aoN
                  12 class members all wages within any time permissible under California law, including, inteN
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   con            13 I alia, California Labor Code section 204.
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             ~    14          43.     During the relevant time period, Defendants failed to provide complete or
             U
   cl)
             ~    15 accurate wage statements to Plaintiff and the other class members.
   w v
         0        16          44.     During the relevant time period, Defendants failed to keep complete or accurate
   a              17 payroll records for Plaintiff and the other class members.

                  18          45.    During the relevant time period, Defendants failed to reimburse Plaintiff and the
                  19 other class members for all necessary business-related expenses and costs.

                  20          46.    During the relevant time period, Defendants failed to properly compensate
                  21   Plaintiff and the other class members pursuant to California law in order to increase
                  22 Defendants' profits.

                  23          47.    California Labor Code section 218 states that nothing in Article 1 of the Labor
                  24 Code shall limit the right of any wage claimant to "sue directly ... for any wages or penalty
                  25 due to him [or her] under this article."
                  26
                  27
                  28


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                                        CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                          Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 46 of 62 Page ID #:278
                                                                                                     Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 11 of 27 Page ID #:41




           1                                    FIRST CAUSE OF ACTION
           2                       (Violation of California Labor Code §§ 510 and 1198)

           3                              (Against RSI HOME PRODUCTS, INC.,

           4        RSI HOME PRODUCTS MANUFACTURING, INC., and DOES 1 through 100)

           5            48.    Plaintiff incorporates by reference the allegations contained in Paragraphs 1

           6   through 47, and each and every part thereof with the same force and effect as though fully set

           7   forth herein.

           8            49.    California Labor Code section 1198 and the applicable Industrial Welfare

           9 I Commission ("IWC") Wage Order provide that it is unlawful to employ persons without

          10 compensating them at a rate of pay either time-and-one-half or two-times that person's regular

          11   rate of pay, depending on the number of hours worked by the person on a daily or weekly

          12 I basis.

          13            50.    Specifically, the applicable IWC Wage Order provides that Defendants are and

          14 were required to pay Plaintiff and the other class members employed by Defendants, and

          15 working more than eight (8) hours in a day or more than forty (40) hours in a workweek, at the

          16 rate of time -and-one -half for all hours worked in excess of eight (8) hours in a day or more

          17 I than forty (40) hours in a workweek.
          18            51.    The applicable IWC Wage Order further provides that Defendants are and were

          19 required to pay Plaintiff and the other class members overtime compensation at a rate of two

          20 times their regular rate of pay for all hours worked in excess of twelve (12) hours in a day.

          21            52.    California Labor Code section 510 codifies the right to overtime compensation

          22 I at one-and-one-half times the regular hourly rate for hours worked in excess of eight (8) hours

          23 in a day or forty (40) hours in a week or for the first eight (8) hours worked on the seventh day
          24 of work, and to overtime compensation at twice the regular hourly rate for hours worked in
          25 excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the seventh day
          26 I of work.
          27            53.    During the relevant time period, Plaintiff and the other class members worked in

          28 I excess of eight (8) hours in a day, and/or in excess of forty (40) hours in a week.


                                                               11
                                 CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                     Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 47 of 62 Page ID #:279
                                                                                                   Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 12 of 27 Page ID #:42



           1          54.     During the relevant time period, Defendants intentionally and willfully failed to
           2   pay overtime wages owed to Plaintiff and the other class members.
           3          55.     Defendants' failure to pay Plaintiff and the other class members the unpaid
           4   balance of overtime compensation, as required by California laws, violates the provisions of
           5   California Labor Code sections 510 and 1198, and is therefore unlawful.
           6          56.     Pursuant to California Labor Code section 1194, Plaintiff and the other class

           7   members are entitled to recover unpaid overtime compensation, as well as interest, costs, and

           8   attorneys' fees.

           9                                   SECOND CAUSE OF ACTION
          10                      (Violation of California Labor Code §§ 226.7 and 512(a))
          11                              (Against RSI HOME PRODUCTS, INC.,
          12        RSI HOME PRODUCTS MANUFACTURING, INC., and DOES 1 through 100)
          13          57.     Plaintiff incorporates by reference the allegations contained in paragraphs 1
          14 through 56, and each and every part thereof with the same force and effect as though fully set

          15 forth herein.

          16          58.     At all relevant times, the IWC Order and California Labor Code sections 226.7

          17 and 512(a) were applicable to Plaintiff's and the other class members' employment by

          18 Defendants.

          19          59.     At all relevant times, California Labor Code section 226.7 provides that no

          20 employer shall require an employee to work during any meal or rest period mandated by an

          21   applicable order of the California lWC.

          22          60.     At all relevant times, the applicable IWC Wage Order and California Labor
          23 Code section 512(a) provide that an employer may not require, cause or permit an employee to
          24 work for a work period of more than five (5) hours per day without providing the employee
          25 with a meal period of not less than thirry (30) minutes, except that if the total work period per
          26 day of the employee is no more than six (6) hours, the meal period may be waived by mutual
          27 consent of both the employer and employee.
          28


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                                  CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




                                                                                                   Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 48 of 62 Page ID #:280
                                                                                                   Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 13 of 27 Page ID #:43



           1          61.     At all relevant times, the applicable IWC Wage Order and California Labor

           2   Code section 512(a) further provide that an employer may not require, cause or permit an

           3   employee to work for a work period of more than ten (10) hours per day without providing the

           4   employee with a second uninterrupted meal period of not less than thirty (30) minutes, except

           5   that if the total hours worked is no more than twelve (12) hours, the second meal period may

           6   be waived by mutual consent of the employer and the employee only if the first meal period

           7 I I was not waived.

           8          62.     During the relevant time period, Plaintiff and the other class members who were

           9   scheduled to work for a period of time no longer than six (6) hours, and who did not waive

          10 their legally-mandated meal periods by mutual consent, were required to work for periods

               longer than five (5) hours without an uninterrupted meal period of not less than thirty (30)

               minutes and/or rest period.

                      63.     During the relevant time period, Plaintiff and the other class members who were

               scheduled to work for a period of time in excess of six (6) hours were required to work for

               periods longer than five (5) hours without an uninterrupted meal period of not less than thirry

               (30) minutes and/or rest period.

                      64.     During the relevant time period, Defendants intentionally and willfully required

          18 Plaintiff and the other class members to work during meal periods and failed to compensate

          19 Plaintiff and the other class members the full meal period premium for work performed during

          20 meal periods.

          21          65.     During the relevant time period, Defendants failed to pay Plaintiff and the other

          22 class members the full meal period premium due pursuant to California Labor Code section

          23 226.7.
          24          66.     Defendants' conduct violates applicable IWC Wage Order and California Labor

          25 Code sections 226.7 and 512(a).
          26          67.     Pursuant to applicable IWC Wage Order and California Labor Code section

          27 226.7(c), Plaintiff and the other class members are entitled to recover from Defendants one
          28


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                                   CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




                                                                                                   Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 49 of 62 Page ID #:281
                                                                                                     Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 14 of 27 Page ID #:44




            1 additional hour of pay at the employee's regular rate of compensation for each work day that

            2   the meal or rest period is not provided.
            3                                    THIRD CAUSE OF ACTION
            4                            (Violation of California Labor Code § 226.7)
            5                              (Against RSI HOME PRODUCTS, INC.,

            6        RSI HOME PRODUCTS MANUFACTURING, INC., and DOES 1 through 100)

            7           68.     Plaintiff incorporates by reference the allegations contained in paragraphs 1
            : through 67, and each and every part thereof with the same force and effect as though fully set

            7 forth herein.

           10          69.      At all times herein set forth, the applicable IWC Wage Order and California

                Labor Code section 226.7 were applicable to Plaintiff's and the other class members'

                employment by Defendants.

                       70.      At all relevant times, California Labor Code section 226.7 provides that no

                employer shall require an employee to work during any rest period mandated by an applicable

                order of the California lWC.
                       71.      At all relevant times, the applicable IWC Wage Order provides that "[e]very
                employer shall authorize and permit all employees to take rest periods, which insofar as

           18   practicable shall be in the middle of each work period" and that the "rest period time shall be

           19   based on the total hours worked daily at the rate of ten (10) minutes net rest time per four (4)

          20    hours or major fraction thereof' unless the total daily work time is less than three and one-half

          21    (3 %z) hours.
          22           72.      During the relevant time period, Defendants required Plaintiff and other class

          23    members to work four (4) or more hours without authorizing or permitting a ten (10) minute
           24 I rest period per each four (4) hour period worked.

          25           73.      During the relevant time period, Defendants willfully required Plaintiff and the
          26    other class members to work during rest periods and failed to pay Plaintiff and the other class

          27    members the full rest period premium for work performed during rest periods.
          28


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                                  CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                     Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 50 of 62 Page ID #:282
                                                                                                    Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 15 of 27 Page ID #:45




            1          74.      During the relevant time period, Defendants failed to pay Plaintiff and the other
            2   class members the full rest period premium due pursuant to California Labor Code section
            3 1226.7

            4          75.      Defendants' conduct violates applicable IWC Wage Orders and California
            5 I Labor Code section 226.7.

            6          76.      Pursuant to the applicable IWC Wage Orders and California Labor Code section
            7   226.7(c), Plaintiff and the other class members are entitled to recover from Defendants one

            8   additional hour of pay at the employees' regular hourly rate of compensation for each work

            9   day that the rest period was not provided.
           10                                   FOURTH CAUSE OF ACTION

                                (Violation of California Labor Code §§ 1194, 1197, and 1197.1)

                                           (Against RSI HOME PRODUCTS, INC.,

                     RSI HOME PRODUCTS MANUFACTURING, INC., and DOES 1 through 100)

                       77.      Plaintiff incorporates by reference the allegations contained in paragraphs 1

                through 76, and each and every part thereof with the same force and effect as though fully set

                forth herein.

                       78.      At all relevant times, California Labor Code sections 1194, 1197, and 1197.1
           18 provide that the minimum wage to be paid to employees, and the payment of a lesser wage

           19 than the minimum so fixed is unlawful.

          20           79.      During the relevant time period, Defendants failed to pay minimum wage to

          21 I Plaintiff and the other class members as required, pursuant to California Labor Code sections

          22 1194, 1197, and 1197.1.

          23           80.      Defendants' failure to pay Plaintiff and the other class members the minimum
          24 wage as required violates California Labor Code sections 1194, 1197, and 1197.1. Pursuant to
          25 those sections Plaintiff and the other class members are entitled to recover the unpaid balance
          26 of their minimum wage compensation as well as interest, costs, and attorney's fees, and
          27 liquidated damages in an amount equal to the wages unlawfully unpaid and interest thereon.
          28


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                                  CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                    Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 51 of 62 Page ID #:283
                                                                                                   Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 16 of 27 Page ID #:46



           1           81.    Pursuant to California Labor Code section 1197.1, Plaintiff and the other class

           2   members are entitled to recover a penalty of $100.00 for the initial failure to timely pay each

           3   employee minimum wages, and $250.00 for each subsequent failure to pay each employee

           4 I minimum wages.

           5           82.    Pursuant to California Labor Code section 1194.2, Plaintiff and the other class

           6 I members are entitled to recover liquidated damages in an amount equal to the wages

           7 I unlawfully unpaid and interest thereon.

           8                                   FIFTH CAUSE OF ACTION
           9                       (Violation of California Labor Code §§ 201 and 202)

          10                             (Against RSI HOME PRODUCTS, INC.,

          11        RSI HOME PRODUCTS MANUFACTURING, INC., and DOES 1 through 100)

          12          83.     Plaintiff incorporates by reference the allegations contained in paragraphs 1

          13 through 82, and each and every part thereof with the same force and effect as though fully set

          14 forth herein.

          15          84.     At all relevant times herein set forth, California Labor Code sections 201 and

          16 202 provide that if an employer discharges an employee, the wages earned and unpaid at the

          17 time of discharge are due and payable immediately, and if an employee quits his or her

          18 employment, his or her wages shall become due and payable not later than seventy-two (72)

          19 hours thereafter, unless the employee has given seventy-two (72) hours' notice of his or her

          20 intention to quit, in which case the employee is entitled to his or her wages at the time of

          21   quitting.

          22          85.    During the relevant time period, Defendants intentionally and willfully failed to

          23 pay Plaintiff and the other class members who are no longer employed by Defendants their
          24 wages, earned and unpaid, within seventy-two (72) hours of their leaving Defendants' employ.
          25          86.    Defendants' failure to pay Plaintiff and the other class members who are no

          26 longer employed by Defendants' their wages, earned and unpaid, within seventy-two (72)
          27 hours of their leaving Defendants' employ, is in violation of California Labor Code sections
          28 201 and 202.


                                                              16
                                CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




                                                                                                   Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 52 of 62 Page ID #:284
                                                                                                               Exhibit A
                Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 17 of 27 Page ID #:47



                  1            87.     California Labor Code section 203 provides that if an employer willfully fails to

                  2    pay wages owed, in accordance with sections 201 and 202, then the wages of the employee

                  3   I I shall continue as a penalty from the due date thereof at the same rate until paid or until an

                  4    action is commenced; but the wages shall not continue for more than thirty (30) days.

                  5            88.     Plaintiff and the other class members are entitled to recover from Defendants the

                  6    statutory penalty wages for each day they were not paid, up to a thirty (30) day maximum

                  7    pursuant to California Labor Code section 203.

                  8                                      SIXTH CAUSE OF ACTION

                  0                               (Violation of California Labor Code § 204)

                 10                                (Against RSI HOME PRODUCTS, INC.,

   u             11         RSI HOME PRODUCTS MANUFACTURING, INC., and DOES 1 through 100)
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   V , o
                 12            89.     Plaintiff incorporates by reference the allegations contained in paragraphs 1
   H ~ ~

            ~    13    through 88, and each and every part thereof with the same force and effect as though fully set
       ri
   o ¢' 40       14    forth herein.
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                 15            90.     At all times herein set forth, California Labor Code section 204 provides that all

   ~ 3 ~         16 I wages earned by any person in any employment between the lst and 15th days, inclusive, of
   a             17 any calendar month, other than those wages due upon termination of an employee, are due and
                 18 payable between the 16th and the 26th day of the month during which the labor was
                 19 performed.
                 20            91.     At all times herein set forth, California Labor Code section 204 provides that all

                 21 wages earned by any person in any employment between the 16th and the last day, inclusive,
                 22 of any calendar month, other than those wages due upon termination of an employee, are due
                 23 and payable between the 1 st and the lOth day of the following month.
                 24            92.     At all times herein set forth, California Labor Code section 204 provides that all I

                 25 I wages earned for labor in excess of the normal work period shall be paid no later than the
                 26 payday for the next regular payroll period.
                 27
                 28


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                                         CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                               Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 53 of 62 Page ID #:285
                                                                                                    Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 18 of 27 Page ID #:48



           1           93.     During the relevant time period, Defendants intentionally and willfully failed to

           2   pay Plaintiff and the other class members all wages due to them, within any time period

           3 I I permissible under California Labor Code section 204.

           4           94.     Plaintiff and the other class members are entitled to recover all remedies

           5 I available for violations of California Labor Code section 204.

           6                                   SEVENTH CAUSE OF ACTION

           7                            (Violation of California Labor Code § 226(a))

           8                              (Against RSI HOME PRODUCTS, INC.,

           9        RSI HOME PRODUCTS MANUFACTURING, INC., and DOES 1 through 100)

          10           95.     Plaintiff incorporates by reference the allegations contained in paragraphs 1

               through 94, and each and every part thereof with the same force and effect as though fully set

               forth herein.

                       96.     At all material times set forth herein, California Labor Code section 226(a)

               I provides that every employer shall fumish each of his or her employees an accurate itemized

               statement in writing showing (1) gross wages earned, (2) total hours worked by the employee,

               (3) the number of piece-rate units earned and any applicable piece rate if the employee is paid

               on a piece-rate basis, (4) all deductions, provided that all deductions made on written orders of

          18 the employee may be aggregated and shown as one item, (5) net wages earned, (6) the
          19 inclusive dates of the period for which the employee is paid, (7) the name of the employee and
          20 his or her social security number, (8) the name and address of the legal entity that is the
          21   employer, and (9) all applicable hourly rates in effect during the pay period and the

          22 corresponding number of hours worked at each hourly rate by the employee. The deductions
          23 made from payments of wages shall be recorded in ink or other indelible form, properly dated,
          24 showing the month, day, and year, and a copy of the statement or a record of the deductions
          25 shall be kept on file by the employer for at least three years at the place of employment or at a
          26 central location within the State of California.
          27           97.     Defendants have intentionally and willfully failed to provide Plaintiff and the

          28 other class members with complete and accurate wage statements. The deficiencies include,

                                                                18
                                 CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




                                                                                                    Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 54 of 62 Page ID #:286
                                                                                                       Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 19 of 27 Page ID #:49



           1 but are not limited to: the failure to include the total number of hours worked by Plaintiff and

           2   the other class members.

           3           98.      As a result of Defendants' violation of California Labor Code section 226(a),

           4   Plaintiff and the other class members have suffered injury and damage to their statutorily-

           5 I I protected rights.

           6           99.      More specifically, Plaintiff and the other class members have been injured by

           7   Defendants' intentional and willful violation of California Labor Code section 226(a) because

           8   they were denied both their legal right to receive, and their protected interest in receiving,

           9   accurate and itemized wage statements pursuant to California Labor Code section 226(a).

          10           100.     Plaintiff and the other class members are entitled to recover from Defendants the

               greater of their actual damages caused by Defendants' failure to comply with California Labor

               Code section 226(a), or an aggregate penalty not exceeding four thousand dollars per

               employee.

                       101.     Plaintiff and the other class members are also entitled to injunctive relief to

               ensure compliance with this section, pursuant to California Labor Code section 226(h).

                                                  EIGHTH CAUSE OF ACTION
                                          (Violation of California Labor Code § 1174(d))

          18                                 (Against RSI HOME PRODUCTS, INC.,

          19        RSI HOME PRODUCTS MANUFACTURING, INC., and DOES 1 through 100)

          20           102.     Plaintiff incorporates by reference the allegations contained in paragraphs 1

          21   through 101, and each and every part thereof with the same force and effect as though fully set

          22 forth herein.

          23           103.     Pursuant to California Labor Code section 1174(d), an employer shall keep, at a

          24 central location in the state or at the plants or establishments at which employees are
          25 employed, payroll records showing the hours worked daily by and the wages paid to, and the
          26 number of piece-rate units earned by and any applicable piece rate paid to, employees
          27 employed at the respective plants or establishments. These records shall be kept in accordance
          28


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                                     CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




                                                                                                       Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 55 of 62 Page ID #:287
                                                                                                          Exhibit A
               Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 20 of 27 Page ID #:50



                 1   with rules established for this purpose by the commission, but in any case shall be kept on file
                 2   for not less than two years.
                 3           104.    Defendants have intentionally and willfully failed to keep accurate and complete
                 4   payroll records showing the hours worked daily and the wages paid, to Plaintiff and the other
                 5   class members.
                 6           105.    As a result of Defendants' violation of California Labor Code section 1174(d),
                 7   Plaintiff and the other class members have suffered injury and damage to their statutorily-
                 8   protected rights.

                 9          106.     More specifically, Plaintiff and the other class members have been injured by
                10 Defendants' intentional and willful violation of California Labor Code section 1174(d) because

   u            11   they were denied both their legal right and protected interest, in having available, accurate and
   ao
       N        12   complete payroll records pursuant to California Labor Code section 1174(d).
   u
   W y O
     ~~
   H       °   13                                      NINTH CAUSE OF ACTION
           0
                14                        (Violation of California Labor Code §§ 2800 and 2802)
     ~
   a~ ~         15                                (Against RSI HOME PRODUCTS, INC.,
   ~0           16         RSI HOME PRODUCTS MANUFACTURING, INC., and DOES 1 through 100)
   a            17          107.     Plaintiff incorporates by reference the allegations contained in paragraphs 1
                18   through 106, and each and every part thereof with the same force and effect as though fully set
                19   forth herein.
                20          108.     Pursuant to California Labor Code sections 2800 and 2802, an employer must
                21   reimburse its employee for all necessary expenditures incurred by the employee in direct
                22 consequence of the discharge of his or her job duties or in direct consequence of his or her

                23   obedience to the directions of the employer.
                24          109.     Plaintiff and the other class members incurred necessary business-related
                25   expenses and costs that were not fully reimbursed by Defendants.
                26          110.     Defendants have intentionally and willfully failed to reimburse Plaintiff and the
                27 other class members for all necessary business-related expenses and costs.

                28   ///


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                                         CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




                                                                                                          Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 56 of 62 Page ID #:288
                                                                                                     Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 21 of 27 Page ID #:51



           1           111.    Plaintiff and the other class members are entitled to recover from Defendants
           2 I their business-related expenses and costs incurred during the course and scope of their

           3    employment, plus interest accrued from the date on which the employee incurred the necessary
           4    expenditures at the same rate as judgments in civil actions in the State of California.
           5                                    TENTH CAUSE OF ACTION

           6              (Violation of California Business & Professions Code §§ 17200, et seq.)

           7                              (Against RSI HOME PRODUCTS, INC.,

           8         RSI HOlVIE PRODUCTS MANUFACTURING, INC., and DOES 1 through 100)

           >           112.    Plaintiff incorporates by reference the allegations contained in paragraphs 1

          10 through 111, and each and every part thereof with the same force and effect as though fully set

               forth herein.

                       113.    Defendants' conduct, as alleged herein, has been, and continues to be, unfair,

                unlawful and harmful to Plaintiff, other class members, to the general public, and Defendants'
               competitors. Accordingly, Plaintiff seek to enforce important rights affecting the public

               interest within the meaning of Code of Civil Procedure section 1021.5.

                       114.    Defendants' activities as alleged herein are violations of California law, and

               I constitute unlawful business acts and practices in violation of California Business &

          18 Professions Code section 17200, et seq.

          19           115.    A violation of California Business & Professions Code section 17200, et seq.

          20 may be predicated on the violation of any state or federal law. In this instant case, Defendants'

          21   policies and practices of requiring employees, including Plaintiff and the other class members,

          22 to work overtime without paying them proper compensation violate California Labor Code

          23 sections 510 and 1198. Additionally, Defendants' policies and practices of requiring
          24 employees, including Plaintiff and the other class members, to work through their meal and

          25 rest periods without paying them proper compensation violate California Labor Code sections
          26 226.7 and 512(a). Defendants' policies and practices of failing to pay minimum wages violate
          27 California Labor Code sections 1194, 1197, and 1197.1. Moreover, Defendants' policies and
          28 practices of failing to timely pay wages to Plaintiff and the other class members violate


                                                               21
                                 CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                     Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 57 of 62 Page ID #:289
                                                                                                   Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 22 of 27 Page ID #:52




           1 California Labor Code sections 201, 202 and 204. Defendants also violated California Labor

           2   Code sections 226(a), 1174(d), 2800 and 2802.

           3          116.    As a result of the herein described violations of California law, Defendants

           4   unlawfully gained an unfair advantage over other businesses.

           5          117.    Plaintiff and the other class members have been personally injured by

           6   Defendants' unlawful business acts and practices as alleged herein, including but not

           7   necessarily limited to the loss of money and/or property.

           8          118.    Pursuant to California Business & Professions Code sections 17200, et seq.,

           9   Plaintiff and the other class members are entitled to restitution of the wages withheld and

          10 retained by Defendants during a period that commences four years preceding the filing of this

          11   Complaint; an award of attorneys' fees pursuant to California Code of Civil procedure section

          12 1021.5 and other applicable laws; and an award of costs.

          13                                   DEMAND FOR JURY TRIAL

          14          Plaintiff, individually, and on behalf of other members of the general public similarly

          15 situated, requests a trial by jury.
          16                                       PRAYER FOR RELIEF

          17          WHEREFORE, Plaintiff, individually, and on behalf of other members of the general

          18 public similarly situated, prays for relief and judgment against Defendants, jointly and

          19 severally, as follows:

          20                                          Class Certification

          21          1.      That this action be certified as a class action;

          22          2.      That Plaintiff be appointed as the representative of the Class;

          23          3.      That counsel for Plaintiff be appointed as Class Counsel; and

          24          4.      That Defendants provide to Class Counsel immediately the names and most

          25 current/last known contact information (address, e-mail and telephone numbers) of all class
          26 members.

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          28


                                                                22
                                CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                   Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 58 of 62 Page ID #:290
                                                                                                   Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 23 of 27 Page ID #:53




           1                                   As to the First Cause of Action

           2             5.    That the Court declare, adjudge and decree that Defendants violated California

           3    Labor Code sections 510 and 1198 and applicable IWC Wage Orders by willfully failing to pay

           4    all overtime wages due to Plaintiff and the other class members;

           5             6.    For general unpaid wages at overtime wage rates and such general and special

           6    damages as may be appropriate;

           7             7.    For pre judgment interest on any unpaid overtime compensation commencing

           8    from the date such amounts were due;

           9             8.    For reasonable attorneys' fees and costs of suit incurred herein pursuant to

          10 California Labor Code section 1194; and

          11             9.    For such other and further relief as the Court may deem just and proper.

          12                                  As to the Second Cause of Action

          13             10.   That the Court declare, adjudge and decree that Defendants violated California

          14 Labor Code sections 226.7 and 512 and applicable IWC Wage Orders by willfully failing to

          15 provide all meal periods (including second meal periods) to Plaintiff and the other class

          16 members;

           17            11.   That the Court make an award to Plaintiff and the other class members of one

          18 (1) hour of pay at each employee's regular rate of compensation for each workday that a meal

          19 period was not provided;

          20             12.   For all actual, consequential, and incidental losses and damages, according to

          21    proof;

          22             13.   For premium wages pursuant to California Labor Code section 226.7(c);

          23             14.   For pre judgment interest on any unpaid wages from the date such amounts

          24 were due;
          25             15.   For reasonable attorneys' fees and costs of suit incurred herein; and

          26             16.   For such other and further relief as the Court may deem just and proper.

          27
          28


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                                 CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                   Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 59 of 62 Page ID #:291
                                                                                                       Exhibit A
            Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 24 of 27 Page ID #:54



              1                                   As to the Third Cause of Action
              2            17.    That the Court declare, adjudge and decree that Defendants violated California

              3   Labor Code section 226.7 and applicable IWC Wage Orders by willfully failing to provide all

              4   rest periods to Plaintiff and the other class members;

              5            18.    That the Court make an award to Plaintiff and the other class members of one

              6   (1) hour of pay at each employee's regular rate of compensation for each workday that a rest

              7   period was not provided;

              8            19.    For all actual, consequential, and incidental losses and damages, according to

              9   proof;

             10            20.    For premium wages pursuant to California Labor Code section 226.7(c);

  u          11            21.    For pre judgment interest on any unpaid wages from the date such amounts
  ~ o
    N
             12 were due; and
  U•"~
  H ~ ~      13            22.    For such other and further relief as the Court may deem just and proper.
   ~¢' 42    14                                  As to the Fourth Cause of Action
  ~ ~ U
        ~    15            23.    That the Court declare, adjudge and decree that Defendants violated California
  W 3~
  3 0(-5     16 Labor Code sections 1194, 1197, and 1197.1 by willfully failing to pay minimum wages to
  a~         17 Plaintiff and the other class members;
             18            24.    For general unpaid wages and such general and special damages as may be

             19 appropriate;
             20            25.    For statutory wage penalties pursuant to California Labor Code section 1197.1

             21   for Plaintiff and the other class members in the amount as may be established according to

             22 proof at trial;
             23            26.    For pre judgment interest on any unpaid compensation from the date such

             24 amounts were due;
             25            27.    For reasonable attorneys' fees and costs of suit incurred herein pursuant to

             26 California Labor Code section 1194(a);
             27            28.    For liquidated damages pursuant to California Labor Code section 1194.2; and

             28            29.    For such other and further relief as the Court may deem just and proper.


                                                                  24
                                    CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                       Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 60 of 62 Page ID #:292
                                                                                                            Exhibit A
               Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 25 of 27 Page ID #:55



                 1                                      As to the Fifth Cause of Action
                 2                30.   That the Court declare, adjudge and decree that Defendants violated California

                 3     Labor Code sections 201, 202, and 203 by willfully failing to pay all compensation owed at the

                 4     time of termination of the employment of Plaintiff and the other class members no longer

                 5 I I employed by Defendants;

                 6                31.   For all actual, consequential, and incidental losses and damages, according to

                 7   I I proof;
                 8                32.   For statutory wage penalties pursuant to California Labor Code section 203 for

                 9     Plaintiff and the other class members who have left Defendants' employ;

                10                33.   For pre judgment interest on any unpaid compensation from the date such

   u            11     amounts were due; and
   ao
       N        12                34.   For such other and further relief as the Court may deem just and proper.
   U   '2 ~
                13                                      As to the Sixth Cause of Action
           0
   o¢
    '~          14                35.   That the Court declare, adjudge and decree that Defendants violated California
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       b
                15    Labor Code section 204 by willfully failing to pay all compensation owed at the time required
   W~~
   ~ 3 ~        16 by California Labor Code section 204 to Plaintiff and the other class members;
   a            17                36.   For all actual, consequential, and incidental losses and damages, according to

                18 proof;
                19                37.   For pre judgment interest on any unpaid compensation from the date such

                20 amounts were due; and
                21                38.   For such other and further relief as the Court may deem just and proper.
                                                                                                               ~
                22                                     As to the Seventh Cause of Action
                23                39.   That the Court declare, adjudge and decree that Defendants violated the record

                24 keeping provisions of California Labor Code section 226(a) and applicable IWC Wage Orders
                25 as to Plaintiff and the other class members, and willfully failed to provide accurate itemized
                26 wage statements thereto;
                27                40.   For actual, consequential and incidental losses and damages, according to proof;

                28                41.   For statutory penalties pursuant to California Labor Code section 226(e);


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                                          CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                            Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 61 of 62 Page ID #:293
                                                                                                     Exhibit A
         Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 26 of 27 Page ID #:56



           1          42.     For injunctive relief to ensure compliance with this section, pursuant to
           2   California Labor Code section 226(h); and

           3          43.     For such other and further relief as the Court may deem just and proper.

           4                                 As to the Eighth Cause of Action
           5          44.     That the Court declare, adjudge and decree that Defendants violated California

           6   Labor Code section 1174(d) by willfully failing to keep accurate and complete payroll records

           7   for Plaintiff and the other class members as required by California Labor Code section

           8   1174(d);

           9          45.     For actual, consequential and incidental losses and damages, according to proof;

          10          46.     For statutory penalties pursuant to California Labor Code section 1174.5; and

          11          47.    For such other and further relief as the Court may deem just and proper.

          12                                  As to the Ninth Cause of Action

          13          48.     That the Court declare, adjudge and decree that Defendants violated California

          14 Labor Code sections 2800 and 2802 by willfully failing to reimburse Plaintiff and the other

          15 class members for all necessary business-related expenses as required by California Labor

          16 Code sections 2800 and 2802;

          17          49.    For actual, consequential and incidental losses and damages, according to proof;

          18          50.    For the imposition of civil penalties and/or statutory penalties;

          19          51.    For reasonable attorneys' fees and costs of suit incurred herein; and

          20          52.    For such other and further relief as the Court may deem just and proper.

          21                                  As to the Tenth Cause of Action
          22          53.    That the Court decree, adjudge and decree that Defendants violated California

          23 Business and Professions Code sections 17200, et seq. by failing to provide Plaintiff and the
          24 other class members all overtime compensation due to them, failing to provide all meal and

          25 rest periods to Plaintiff and the other class members, failing to pay at least minimum wages to
          26 Plaintiff and the other class members, failing to pay Plaintiff's and the other class members'
          27 wages timely as required by California Labor Code section 201, 202 and 204 and by violating

          281 California Labor Code sections 226(a), 1174(d), 2800 and 2802.


                                                              26
                                CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL




                                                                                                     Exhibit A
Case 2:21-cv-03596-JWH-PLA Document 14 Filed 06/11/21 Page 62 of 62 Page ID #:294
                                                                                                          Exhibit A
             Case 8:20-cv-01494 Document 1-1 Filed 08/12/20 Page 27 of 27 Page ID #:57




               1           54.       For restitution of unpaid wages to Plaintiff and a11 the other class members and
               2   all pre judgment interest from the day such amounts were due and payable;
               3           55.       For the appointment of a receiver to receive, maiiage and distribute any and ail
               4   fiznds disgorged from Defendants and determined to have been wrongfully acquired by
               5   I Defendants as a result of violation of California Business and Professions Code sections
               6   17200, et seq.;

               7           56.       For reasonable attorneys' fees and costs of suit incurred herein pursuant to
               8   California Code of Civil Procedure section 1021.5;
               9           57.    For injunctive relief to ensure eompliance with this section, pursuant to
              10 California Business and Professions Code sections 17200, et seq.; and

  v           11           58.    For such other and further relief as the Court may deein just and proper.
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  u~~              Dated; J'uly 7, 2020                                     LAWYERS for JUSTYCE, PC
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                                                                      By:
  C'n ~ 41                                                                  Edwin. Aiwazi
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                                                                            14ttorneys for Plaintiff
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                                      CLASs ACTION COMPLAIN'1' FOR DAMAGES AND DEMAND FOR JURY TI21AL




                                                                                                          Exhibit A
